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                   16

                   17                              UNITED STATES DISTRICT COURT

                   18                           NORTHERN DISTRICT OF CALIFORNIA

                   19
                        RICHARD KADREY, an individual; SARAH           Case No. 3:23-cv-03417-VC
                   20   SILVERMAN, an individual; CHRISTOPHER
                        GOLDEN, an individual,                         DEFENDANT META PLATFORMS, INC.’S
                   21                                                  NOTICE OF MOTION AND MOTION TO
                           Individual and Representative Plaintiffs,   DISMISS PLAINTIFFS’ COMPLAINT
                   22
                               v.                                      Date:      November 16, 2023
                   23                                                  Time:      10:00 a.m.
                        META PLATFORMS, INC., a Delaware               Dept:      Courtroom 4 – 17th Floor
                   24   corporation;                                   Judge:     Vince Chhabria
                   25                                   Defendant.
                                                                       Trial Date: None
                   26                                                  Date Action Filed: July 7, 2023
                   27

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                    1          Please take notice that, on November 16, 2023 at 10:00 a.m., Defendant Meta Platforms,
                    2   Inc. (“Meta”) will and hereby moves, pursuant to Fed. R. Civ. P. 12(b)(6), to dismiss Claim 1 (in
                    3   part) and Claims 2–6 (in full) with prejudice for failure to state a claim on which relief may be
                    4   granted. This motion is accompanied by a Request for Consideration of Documents Incorporated
                    5   by Reference and Judicial Notice (“RJN”), Declaration of Judd Lauter (“Lauter”) and exhibits
                    6   thereto; all papers on file in this action; and such other matters as may be presented at the hearing.
                    7   I.     INTRODUCTION
                    8          In February 2023, Meta announced its release of a family of state-of-the-art foundational
                    9   large language models called LLaMA. A large language model (“LLM”) is an AI software program
                   10   designed to generate coherent text responses to user queries or “prompts.” Just as a child learns
                   11   language (words, grammar, syntax, sentence structure) by hearing everyday speech, bedtime stories,
                   12   songs on the radio, and so on, LLaMA “learned” language by being exposed—through “training”—to
                   13   “massive amounts of text from various sources,” such as code, webpages, and books, in 20
                   14   languages. (¶¶ 2, 18.)1 This process involved dissecting text into trillions of word snippets or letter
                   15   combinations (called “tokens”) and extracting a vast, complex set of statistical correlations as to how
                   16   tokens are most likely to be arranged coherently. Once trained on sufficiently large volumes of data,
                   17   LLMs, like LLaMA, develop emergent capabilities to use the building blocks of language in extra-
                   18   ordinary ways, including to “generate creative text, solve mathematical theorems, predict protein
                   19   structures, answer reading comprehension questions, and more. They are one of the clearest cases
                   20   of the substantial potential benefits AI can offer at scale to billions of people.” (Lauter Ex. 1.)
                   21          As part of its commitment to open science, Meta released LLaMA on a noncommercial basis
                   22   to academic researchers, members of governmental organizations, and industry research
                   23   laboratories around the world. (¶ 31 (quoting Lauter Ex. 1).) In doing so, Meta sought to
                   24   democratize access to state-of-the-art LLMs, and thereby accelerate the development of better
                   25   models and a broader and more innovative set of use-cases. (Lauter Ex. 1.)
                   26
                        1
                   27     Unless otherwise stated, citations to “¶_” and “Ex. ” are to the Complaint’s paragraphs and
                        exhibits, all emphases are added, and internal citations and quotation marks are omitted. Because
                   28   Plaintiffs erred by including two instances of paragraphs numbered 1–23, Meta includes a page
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                        number with any citation to the second instance of those paragraphs (e.g., ¶ 1 at 9).
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                    1           Named Plaintiffs are authors of copyrighted books comprising a miniscule fraction (less
                    2   than a millionth) of the material allegedly used to train LLaMA. Unlike in a traditional copyright
                    3   case, Plaintiffs do not allege that LLaMA or any text generated by its users in response to prompts
                    4   (called “output”) is substantially similar in protectable expression to their books. They do not identify
                    5   any output that has ever been created using LLaMA. Instead, they primarily object that Meta did
                    6   not obtain their consent before extracting “information” from their texts as part of training LLaMA.
                    7           Copyright law does not protect facts or the syntactical, structural, and linguistic information
                    8   that may have been extracted from books like Plaintiffs’ during training. Use of texts to train
                    9   LLaMA to statistically model language and generate original expression is transformative by nature
                   10   and quintessential fair use—much like Google’s wholesale copying of books to create an internet
                   11   search tool was found to be fair use in Authors Guild v. Google, Inc., 804 F.3d 202 (2d Cir. 2015).
                   12   That core issue, however, will be for another day, on a more fulsome record. For now, Meta moves
                   13   to dismiss the remainder of the Complaint for failure to state a claim.
                   14           Claim 1 (Direct Copyright Infringement): Plaintiffs’ claim for direct infringement must
                   15   be dismissed with prejudice to the extent it is premised on a theory that LLaMA is itself an
                   16   infringing “derivative” work. This theory is supported by a single allegation: that LLaMA “cannot
                   17   function without the expressive information extracted from Plaintiffs’ Works and retained inside
                   18   [it].” (¶ 41.) Plaintiffs do not explain what “information” this refers to, but use of “information”
                   19   from a copyrighted text is not the standard for infringement. Under well-settled Ninth Circuit law,
                   20   the only pertinent question is whether the software comprising LLaMA is, itself, substantially
                   21   similar in protected expression to Plaintiffs’ books. Because Plaintiffs do not and cannot plausibly
                   22   allege substantial similarity of protected expression, this legal theory fails as a matter of law.
                   23           Claim 2 (Vicarious Copyright Infringement): Plaintiffs seek to hold Meta vicariously
                   24   liable for purportedly infringing outputs generated by others using LLaMA. But they do not
                   25   identify a single output ever generated by anyone that supposedly infringes their books. Instead,
                   26   Plaintiffs advance the fallacy that every output generated using LLaMA is “based on expressive
                   27   information extracted from” Plaintiffs’ books and, therefore an “infringing derivative work” of
                   28   each of those books. (¶ 44.) The Ninth Circuit has rejected this argument as “frivolous,” and it
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                    1    makes no sense.     The test for infringement is “substantial similarity.”       The solution to a
                    2    mathematical theorem, line of code, or language translation—all outputs LLaMA is capable of
                    3    generating—are not “substantially” or even remotely similar to any of Plaintiffs’ books. Nor is,
                    4    say, an original poem a user creates with LLaMA. Plaintiffs cannot plead this most basic element
                    5    (or any of the others) necessary to state a claim for vicarious copyright infringement.
                    6           Claim 3 (Digital Millennium Copyright Act (“DMCA”)): Plaintiffs’ DMCA claims are
                    7    divorced from the language and purpose of the law. They allege that Meta provided false copyright
                    8    management information (“CMI”) in violation of 17 U.S.C. § 1202(a)(1) by asserting copyright in
                    9    the LLaMA models. However, such claims are only actionable where the allegedly false CMI is
                   10    included in an exact copy of a work, which is not the case here. Nor can Plaintiffs plausibly plead
                   11    that Meta’s claim of copyright in LLaMA was false or knowingly made with intent to cause or
                   12    conceal infringement. Plaintiffs’ Section 1202(b)(1) claim fails because they do not and cannot
                   13    allege “removal” of their CMI in training, much less that Meta intentionally removed it to cause or
                   14    conceal allegedly infringing outputs, particularly where Plaintiffs have yet to identify any. And the
                   15    Section 1202(b)(3) claim—premised on removal of CMI from the LLaMA models, themselves—
                   16    fails because Plaintiffs are not the authors of LLaMA, they own (and claim) no copyright in it, and
                   17    their CMI was never included to begin with, much less intentionally removed by Meta with
                   18    wrongful intent. As to each theory, Plaintiffs’ allegations fail to state a claim under the DMCA.
                   19           Claims 4–6 (Unfair Competition, Unjust Enrichment, Negligence): Plaintiffs’ UCL
                   20    claim is based on two alleged predicate violations: (1) violation of the DMCA, which Plaintiffs
                   21    cannot establish, and (2) unauthorized use of Plaintiffs works to train LLaMA, which is just a
                   22    repackaged copyright claim and, thus, expressly preempted by the Copyright Act. Absent a viable
                   23    predicate violation, this claim must be dismissed. So, too, must the unjust enrichment claim, which
                   24    is likewise preempted, and would require a quasi-contractual relationship between the parties,
                   25    which has not been pleaded and does not exist. Finally, Plaintiffs’ negligence claim—which is
                   26    based on a purported duty not to train LLaMA on their copyrighted works—is likewise preempted
                   27    and barred by the economic loss doctrine in any event. Each of these claims should be dismissed
                   28    with prejudice.
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                    1    II.    SUMMARY OF RELEVANT FACTS AND ALLEGATIONS
                    2           A.      The Parties
                    3           Named Plaintiffs: Named plaintiffs are book authors Richard Kadrey, Sarah Silverman,
                    4    and Christopher Golden. (¶¶ 4, 9–12 & Exs. A, B.) They allegedly own registered copyrights in,
                    5    respectively, Sandman Slim, The Bedwetter, and Ararat (referred to by Plaintiffs as “Infringed
                    6    Works”), each of which contains CMI “customarily included in published books, including the
                    7    name of the author and the year of publication.” (¶¶ 9–11.) Plaintiffs allege that Meta used each
                    8    of these books, along with others by Kadrey and Golden, to train LLaMA. (¶¶ 23–30 & Ex. B.)
                    9           Meta and Its LLaMA Models: Meta is a technology company that offers popular social
                   10    media services Facebook and Instagram. It also has a team called Meta AI that “creates and
                   11    distributes artificial-intelligence software products” that “algorithmically simulate human reasoning.”
                   12    (¶¶ 16–17.) In February 2023, Meta released LLaMA, a “set of large language models … designed
                   13    to parse and emit natural language.” (¶ 18.) Meta announced that LLaMA would be made available
                   14    on a limited basis to “academic researchers; those affiliated with organizations in government, civil
                   15    society, and academia; and industry research laboratories around the world” for purposes of study,
                   16    research and development. (¶ 31 (quoting Lauter Ex. 1).) Meta further announced that those
                   17    seeking access could apply at a web link provided in a research paper describing how LLaMA was
                   18    created and trained. (Id.) Plaintiffs allege “on information and belief” that Meta has “benefited
                   19    financially” from this noncommercial release of LLaMA (¶ 32), but do not describe how.
                   20           In March 2023, the “model weights” for LLaMA—the statistical parameters derived from
                   21    its training—were posted to popular code-sharing platform, GitHub, without Meta’s authorization.
                   22    (¶¶ 33–34.) Meta promptly submitted a DMCA takedown notice to GitHub, asserting its copyright
                   23    in LLaMA and requesting removal of a tool posted there by a programmer to help users download
                   24    the LLaMA models outside of Meta’s application process and without Meta’s consent. (¶ 34.)
                   25    Despite these efforts, unidentified third parties have “continued to circulate” LLaMA. (¶ 33.)
                   26           B.      Plaintiffs’ Allegations of Purported Wrongdoing
                   27           According to Plaintiffs, LLMs like LLaMA are “‘trained’ by copying massive amounts of
                   28    text from various sources and feeding these copies into the model.” (¶ 18.) During training, an
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                    1    LLM “copies each piece of text in the training dataset and extracts expressive information from it,”
                    2    which then enables the model “to emit convincing simulations of natural written language as it
                    3    appears in the training dataset.” (Id.) Plaintiffs further allege that the output of an LLM is “entirely
                    4    and uniquely reliant on the material in its training dataset. Every time it assembles a text output,
                    5    the model relies on the information it extracted from its training dataset.” (¶ 3.)
                    6           Plaintiffs infer that the allegedly Infringed Works were among the many materials on which
                    7    LLaMA was trained from the research paper Meta published in connection with LLaMA’s release,
                    8    “LLaMA: Open and Efficient Foundation Language Models” (“Research Paper”), which described
                    9    the models and their training sources. (¶¶ 21, 23–30; see Lauter Ex. 2.) According to Plaintiffs,
                   10    one such source is “the Books3 section of ThePile,” a corpus of 196,000 books, which was assembled
                   11    by the research organization EleutherAI for training LLMs and includes the Infringed Works. (¶¶ 23–
                   12    25.) On that basis, Plaintiffs allege that their books must have been “copied and ingested” by Meta
                   13    in training LLaMA. (¶¶ 5, 19.) Notably, as detailed in the Research Paper, Books3 comprises an
                   14    astonishingly small portion of the total text used to train LLaMA. All books from Books3, together
                   15    with the roughly 70,000 books collected from Project Gutenberg, an “archive of [] books that are
                   16    out of copyright” (¶ 23), accounted for only 4.5% of training text. (Lauter Ex. 2; ¶ 23.) Even
                   17    accepting Plaintiffs’ allegations, their books comprised less than a millionth of the training data.
                   18           Plaintiffs filed this suit on July 7, 2023, asserting claims for: (1, 2) direct and vicarious
                   19    copyright infringement (17 U.S.C. § 106); (3) removal of CMI and false assertion of copyright in
                   20    violation of the DMCA (17 U.S.C. §§ 1202(a)(1) and 1202(b)); (4) unfair competition (Cal. Bus.
                   21    & Prof. Code §§ 17200 et seq. (“UCL”)); (5) unjust enrichment; and (6) negligence. Plaintiffs seek
                   22    to represent a putative class of “all persons or entities domiciled in the United States that own a
                   23    [U.S.] copyright in any work that was used as training data” for LLaMA. (¶ 15 at 10.)
                   24           Plaintiffs assert that any copies of the allegedly Infringed Works made in the process of
                   25    training LLaMA infringe the copyrights in those Works (¶ 40), and, further, because LLaMA relies
                   26    on unspecified “expressive information extracted from” those Works, the LLaMA model, itself—
                   27    and “every output” therefrom—are infringing derivatives. (¶¶ 41, 44.) Plaintiffs further claim that,
                   28    “by design,” the process of training LLaMA does not preserve CMI, and Meta thereby intentionally
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                    1    removed CMI from their works, distributed unauthorized derivative works without their CMI, and
                    2    provided false CMI by claiming “sole copyright” in LLaMA. (¶¶ 49-51.) These purported acts also
                    3    form the basis of Plaintiffs’ state and common law claims. (¶¶ 54–58; ¶¶ 1–14 at 9–10.)
                    4    III.   LEGAL STANDARDS
                    5           “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a cognizable
                    6    legal theory or (2) fails to allege sufficient facts to support a cognizable legal theory.” Somers v.
                    7    Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). To avoid dismissal, a complaint must plead “enough
                    8    facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
                    9    544, 570 (2007). The court need not “accept as true allegations that contradict … matters properly
                   10    subject to judicial notice, or allegations that are merely conclusory, unwarranted deductions of fact,
                   11    or unreasonable inferences.” Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010);
                   12    Dahlia v. Rodriguez, 735 F.3d 1060, 1076 (9th Cir. 2013) (same); Twombly, 550 U.S. at 555 (courts
                   13    need not “accept as true a legal conclusion couched as a factual allegation”). “Where a complaint
                   14    pleads facts that are merely consistent with a defendant’s liability, it stops short of the line between
                   15    possibility and plausibility of entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                   16    IV.    ARGUMENT
                   17           Plaintiffs’ claims for direct and vicarious copyright infringement rest on legal theories that
                   18    are incompatible with the Copyright Act and contravene the binding law in this Circuit. The state
                   19    law claims, in turn, all improperly invade on the exclusive domain of federal copyright law and
                   20    must be dismissed with prejudice as preempted, and because they fail to state a claim in any event.
                   21           A.    Plaintiffs Fail to Plead that LLaMA Is an Infringing Derivative Work (Claim 1)
                   22           Plaintiffs’ claim for direct copyright infringement is based on two theories: (1) Meta created
                   23    unauthorized copies of Plaintiffs’ books in the process of training LLaMA (¶ 40); and
                   24    (2) “[b]ecause the LLaMA language models cannot function without the expressive information
                   25    extracted from Plaintiffs’ Infringed Works and retained inside [LLaMA],” the models “are
                   26    themselves infringing derivative works” (¶ 41). Both theories are without merit, but this Motion
                   27    addresses only the latter theory, which rests on a fundamental misunderstanding of copyright law.
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                    1           The Copyright Act secures to authors six “exclusive” rights enumerated in 17 U.S.C. § 106.
                    2    These include the right to “reproduce” the copyrighted work in copies,” 17 U.S.C. § 106(1), and
                    3    the right to “prepare derivative works,” id. § 106(2).
                    4           A “fundamental axiom of copyright law is that no author may copyright his ideas or the
                    5    facts he narrates.” Feist Publ’n Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 344–45 (1991). Even
                    6    ideas originally conceived by an author cannot be the proper subject of an infringement claim,
                    7    because copyright does not extend to facts, ideas, or other foundational elements of creativity—it
                    8    protects only the specific manner in which information is expressed. Id.; 17 U.S.C. § 102(b).
                    9           “This principle, known as the idea/expression or fact/expression dichotomy, applies to all
                   10    works of authorship.” Id. at 350. It dictates that “every idea, theory, and fact in a copyrighted work
                   11    becomes instantly available for public exploitation at the moment of publication.” Eldred v.
                   12    Ashcroft, 537 U.S. 186, 219 (2003). Only by excluding facts and ideas from copyright protection
                   13    can the Copyright Act advance the Constitutional imperative of promoting “the Progress of Science
                   14    and useful Arts.” U.S. CONST. Art. 1, § 8, cl. 8. After all, “[e]very work uses scraps of thought
                   15    from thousands of predecessors”; “Intellectual (and artistic) progress is possible only if each author
                   16    [is free to] build[] on the work of others.” Nash v. CBS, Inc., 899 F.2d 1537, 1540, 1543 (7th Cir.
                   17    1990) (affirming summary judgment that defendants “did not appropriate any of the material
                   18    protected by Nash’s copyrights” because they used his work solely “as a source of facts and ideas”
                   19    and took his “analysis of history but none of his expression”).
                   20           The fact/expression dichotomy was further elucidated in Authors Guild, in which the
                   21    Second Circuit rejected an argument that the Google Books project—for which Google made
                   22    digital copies of millions of books without permission to create a tool allowing Internet users to
                   23    search for certain words or terms within them—constituted an infringing derivative work. 804 F.3d
                   24    at 227. The court reasoned that plaintiffs had no “supposed derivative right to supply information
                   25    about their books,” such as “word frequencies, syntactic patterns, and thematic markers.” Id. at
                   26    209, 227.    This “statistical information,” the court found, does not constitute “copyrighted
                   27    expression,” and its use by Google did “not support Plaintiffs’ derivative works argument.” Id.
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                    1           With these bedrock principles in mind, the argument Plaintiffs seek to advance here—that
                    2    Meta’s LLaMA models must be infringing derivatives of each of Plaintiffs’ copyrighted books
                    3    merely because they were trained on their works (¶ 41)—is legally untenable for multiple reasons.
                    4           First, as the Ninth Circuit has definitively held, a derivative work must be substantially
                    5    similar in protected expression to the copyrighted work to be infringing. In Litchfield v. Spielberg,
                    6    the Ninth Circuit rejected as “frivolous” the exact argument Plaintiffs seek to advance here, namely,
                    7    that a “derivative work” encompasses “any work based on a copyrighted work,” irrespective of
                    8    substantial similarity. 736 F.2d 1352, 1357 (9th Cir. 1984). Rather, “[t]o prove infringement, one
                    9    must show substantial similarity.” Id.; see also Roth Greeting Cards v. United Card Co., 429 F.2d
                   10    1106, 1110 (9th Cir. 1970) (“[I]nfringement [requires] substantial similarity….”); 4 Patry on
                   11    Copyright § 12:13 (collecting cases) (“In order to infringe the derivative right, there must be
                   12    substantial similarity in protectible expression between the parties’ works.”).
                   13           To assess substantial similarity, the Ninth Circuit applies a two-part test. Cavalier v.
                   14    Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002). The first part—the “extrinsic test”—is an
                   15    “objective comparison of specific expressive elements”; the court “disregard[s] the non-protectible
                   16    elements” like “stock scenes and themes” and “plot ideas” and determines whether the remaining
                   17    “protectible elements, standing alone, are substantially similar.” Id. at 822–23; see also Berkic v.
                   18    Crichton, 761 F.2d 1289, 1293–94 (9th Cir. 1985) (excluding ideas and scenes-a-faire). The second
                   19    part—the “intrinsic test”—is a subjective comparison focused on “whether the ordinary, reasonable
                   20    audience would find the works substantially similar” in “total concept and feel.” Id. at 822. If,
                   21    under these tests, the accused work is not “substantially similar” to plaintiff’s copyrighted work, it
                   22    is neither a “copy” nor a “derivative work” for purposes of Section 106. 17 U.S.C. § 106(1)–(3).
                   23           Here, Plaintiffs make no attempt to plead substantial similarity as between the LLaMA
                   24    models and any of their books, and such an allegation would be implausible on its face. Software
                   25    code for a neural network is not similar to Plaintiffs’ novels and essay collection, and Plaintiffs do
                   26    not and cannot claim that it is. Under Litchfield, that should end the analysis. 736 F.2d at 1357.
                   27           Second, rather than attempt to plead substantial similarity, Plaintiffs allege that “expressive
                   28    information extracted from Plaintiffs’ Infringed Works” is “retained inside the LLaMA language
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                    1    models,” and that they “cannot function without [it].” (¶ 41.) This does not help their cause. The
                    2    test of infringement is not whether one work can “function” without another. In Authors Guild, for
                    3    instance, wholesale copying of books was necessary to enable the search function at issue, but the
                    4    court still rejected a claim that the search tool was an infringing derivative work. 804 F.3d at 209,
                    5    227. Equally fatal, Plaintiffs do not identify any “expressive information” LLaMA is supposed to
                    6    contain, or what it consists of. They do not claim, for instance, that text from their books appears
                    7    in LLaMA’s codebase. Such an allegation would be nonsensical and contrary to the way LLMs
                    8    function. Instead, the most plausible read of Plaintiffs’ allegations is that tokenized, statistical
                    9    “information” about the words, sentences, and paragraphs in their books has been extracted and
                   10    analyzed in training LLaMA and developing its code. As amply demonstrated by Authors Guild,
                   11    Nash and the other authorities cited above, such information falls outside the scope of copyright
                   12    protected expression and its use (even if it were alleged) could not support a claim for infringement.
                   13           Third, even if the Court were to look past the total absence of allegations (plausible or
                   14    otherwise) of substantial similarity between Plaintiffs’ books and the LLaMA language models,
                   15    Authors Guild provides yet another, independent basis for dismissing Plaintiffs’ second theory of
                   16    direct copyright infringement. In Authors Guild, it was undisputed that the Google search feature
                   17    at issue relied on digital scans of plaintiffs’ entire books to generate snippets and data about the
                   18    books as search outputs. 804 F.3d at 225. Nevertheless, because the digital copies created by
                   19    Google were hidden from view by the public and the tool did not permit access “in any substantial
                   20    way to a book’s expressive content” apart from the snippets, the search tool was beyond the
                   21    “statutory definition of a derivative work, or of the logic that underlies it.” Id. at 226–27.
                   22           Here, Plaintiffs claim that LLaMA “ingested” copies of their books as training material.
                   23    (¶ 5.) However, they do not allege that those copies are viewable or otherwise accessible to users
                   24    of LLaMA, and do not point to a single output that substantially reveals or borrows from the
                   25    protected expression of those works. Accordingly, as in Authors Guild, Plaintiff’s theory that the
                   26    LLaMA language model is itself an infringing derivative work fails as a matter of law.
                   27           B.    Plaintiffs Fail to State a Claim for Vicarious Infringement (Claim 2)
                   28           By their claim for vicarious copyright infringement, Plaintiffs seek to hold Meta secondarily
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                    1    liable for allegedly infringing outputs generated by others using the LLaMA language models. To
                    2    state a claim for vicarious infringement, Plaintiffs must allege facts plausibly establishing: (1) an
                    3    act of direct infringement undertaken by another party; (2) that Meta exercises control over (i.e.,
                    4    has the “right and ability to supervise”) that infringing conduct; and (3) that Meta has a direct
                    5    financial interest in the infringing activity. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146,
                    6    1173 (9th Cir. 2007). Plaintiffs’ factual allegations fail to satisfy any of these elements.
                    7                   1.      Plaintiffs fail to allege direct infringement
                    8           The first, most basic element of any claim for secondary copyright liability is an act of direct
                    9    infringement by another. Plaintiffs do not identify any such act. Indeed, the Complaint is devoid
                   10    of a single example of any use of LLaMA to generate output that Plaintiffs might plausibly contend
                   11    infringes any of their works. This, alone, is fatal.
                   12           To state a claim, Plaintiffs were required to identify specific examples of directly infringing
                   13    works so that, among other things, they may be compared against the original copyrighted works
                   14    for purposes of assessing substantial similarity. See Becton, Dickinson & Co. v. Cytek Biosciences
                   15    Inc., 2020 WL 1877707, at *6–7 (N.D. Cal. Apr. 15, 2020) (dismissing copyright claim for failure
                   16    to plead representative acts of infringement). Plaintiffs “need not specify each and every instance
                   17    of infringement at the pleadings stage, but [they] must submit at least a representative sampling of
                   18    infringed content,” including what parts of their works were copied and how and where such
                   19    copying is manifest. Id. at *6. Here, Plaintiffs do not allege any example of output of the LLaMA
                   20    language models, what parts (if any) of their books were allegedly reproduced in any output, or any
                   21    specific act of infringement. Dismissal is thus required. See MultiCraft Imports, Inc. v. Mariposa
                   22    USA, Inc., 2017 WL 5664996, at *3 (C.D. Cal. Sept. 14, 2017) (dismissing claim and reasoning:
                   23    “Absent any allegations of even representative infringements, the FAC fails to provide notice as a
                   24    matter of law.”); Blizzard Ent., Inc. v. Lilith Games (Shanghai) Co., 149 F. Supp. 3d 1167, 1175
                   25    (N.D. Cal. 2015) (same, dismissing claim).
                   26           Rather than satisfy this pleading burden, Plaintiffs seek to circumvent it, asserting: “Because
                   27    the output of the LLaMA language models is based on expressive information extracted from
                   28    Plaintiffs’ Infringed Works, every output of the [models] is an infringing derivative work.” (¶ 44.)
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                    1    This is wrong as a matter of both well-settled law and common sense, as shown in Section IV.A.
                    2    above.
                    3             Plaintiffs make no attempt to plead substantial similarity of the (unspecified) outputs of the
                    4    models, just as they make no effort to show substantial similarity of the models themselves. The
                    5    only description of potential outputs of the LLaMA models is that they are “able to emit convincing
                    6    simulations of natural written language” (¶ 18), which could theoretically include outputs ranging
                    7    from a sample cover letter for a job application, to a list of U.S. state capitols, to a dissertation on
                    8    the Newtonian laws of motion. Any suggestion that such outputs would be substantially similar to
                    9    any of named Plaintiffs’ books is not only implausible, but absurd—which is presumably why
                   10    Plaintiffs tried to avoid the essential issue of substantial similarity altogether.
                   11                    2.      Plaintiffs fail to plead the requisite control
                   12             To plead the second element of vicarious copyright infringement, Plaintiffs were required
                   13    to allege facts showing that Meta had the “right and ability to supervise” the supposed infringement
                   14    of their books in output generated by others. Perfect 10 v. Giganews, Inc., 847 F.3d 657, 673 (9th
                   15    Cir. 2017). Instead, the Complaint simply recites this element in conclusory fashion without any
                   16    supporting facts. (¶ 45.) This is insufficient. Under Iqbal, “[t]hreadbare recitals of the elements
                   17    of a cause of action, supported by mere conclusory statements, do not suffice” to state a claim. 556
                   18    U.S. at 678; Kilina Am., Inc. v. Bonded Apparel, Inc., 2019 WL 8065854, at *2 (C.D. Cal. Nov. 19,
                   19    2019 (“Merely alleging that the Defendants had the ‘right and ability to supervise the infringing
                   20    conduct’ lacks the requisite detail to sustain a claim...”).2
                   21                    3.      Plaintiffs fail to plead the requisite financial interest
                   22             Plaintiffs also fail to adequately plead the third element for vicarious liability—that Meta
                   23    has a “direct financial interest” in the supposed infringement. Perfect 10, 847 F.3d at 673. Once
                   24    again, the Complaint includes only the conclusory allegation that “Meta has benefited financially
                   25    from the infringing output of the LLaMA language models” (¶ 45), which falls short. Iqbal, 556
                   26
                         2
                   27      In light of Plaintiffs’ allegation that unauthorized versions of LLaMA have “continued to
                         circulate” on GitHub despite Meta’s takedown efforts (¶¶ 33–34), it is unclear how Plaintiffs could
                   28    ever plausibly plead that Meta has the ability to supervise uses of LLaMA of which it is not aware
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                         and which it has tried to prevent.
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                    1    U.S. at 678. At the same time, Plaintiffs acknowledge and affirmatively plead that LLaMA was
                    2    released on a limited noncommercial basis to academic researchers free of charge. (¶ 31.)
                    3           Moreover, Plaintiffs fail to allege any causal link between the allegedly infringing activities
                    4    and a financial benefit to Meta, as the law requires. Perfect 10, 847 F.3d at 673. To satisfy the
                    5    “direct financial interest” element of vicarious copyright infringement, Plaintiffs must show that
                    6    LLaMA users were “drawn” to the program because of the copying of Plaintiffs’ works. Id. at 674.
                    7    This is not alleged in the Complaint, nor can it plausibly be. According to the Complaint, Plaintiffs’
                    8    books are among hundreds of thousands of books included in LLaMA’s training data. (¶¶ 23, 28.)
                    9    All 266,000+ books, in turn, comprise only 4.5% of the data used to train LLaMA, and a significant
                   10    portion of that subset consists of books in the public domain. (Lauter ¶ 3 & Ex. 2; ¶ 23.) To claim
                   11    that the statistical data extracted from any particular work in the dataset acts as a “draw” for users
                   12    of the models—particularly where Meta is not alleged to have ever identified Plaintiffs’ works as
                   13    among LLaMA’s training material (see ¶¶ 21–30)—is factually unsupported and untenable.
                   14           C.    Plaintiffs Fail to State a Claim for Violation of the DMCA (Claim 3)
                   15           As relevant here, the copyright management provisions of the Digital Millennium
                   16    Copyright Act (“DCMA”) prohibit the knowing dissemination of false CMI “with the intent to
                   17    induce, enable, facilitate, or conceal infringement” (17 U.S.C. § 1202(a)(1)), and the intentional
                   18    removal of CMI or knowing distribution of copies of works with CMI removed, with knowledge
                   19    or “reasonable grounds to know, that it will induce, enable, facilitate, or conceal” infringement (id.
                   20    §§ 1202(b)(1), (3)). Plaintiffs purport to plead violations of each of these provisions (¶¶ 49–51),
                   21    but their allegations are untethered from both the language of Section 1202 and its purpose. As
                   22    discussed in further detail below, each claim warrants dismissal with prejudice.
                   23                   1.      Plaintiffs fail to state a claim under Section 1202(a)(1)
                   24           Plaintiffs allege that Meta knowingly conveyed false CMI with the intent to cause or conceal
                   25    copyright infringement, in violation of 17 U.S.C. § 1202(a)(1). Their theory is that because Meta’s
                   26    LLaMA models are infringing derivative works (¶ 41), Meta provides false CMI by asserting
                   27    copyright ownership in LLaMA. (¶ 51.) This claim is meritless for multiple reasons.
                   28           First, even if the Court were to accept Plaintiffs’ allegations as true, provision of false CMI
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                    1    must occur in connection with an original or otherwise identical copy of a work to be actionable.
                    2    O’Neal v. Sideshow, Inc., 583 F. Supp. 3d 1282, 1287 (C.D. Cal. 2022) (dismissing DMCA claim
                    3    because works were not identical); Kirk Kara Corp. v. W. Stone & Metal Corp., 2020 WL 5991503,
                    4    at *6 (C.D. Cal. Aug. 14, 2020) (dismissing DMCA claim because “Defendant did not make
                    5    identical copies of Plaintiff’s works and then remove the [] CMI”). This is in keeping with the
                    6    purpose of the DMCA, which was enacted to help address the “ease with which digital works can
                    7    be copied and distributed worldwide virtually instantaneously” over the Internet. S. Rep. 105-190,
                    8    at 8 (1998). CMI was envisioned as “a kind of license plate for a work on the information
                    9    superhighway,” from which the authorship and/or ownership of the work could be readily
                   10    determined by internet users. Textile Secrets Int’l, Inc. v. Ya-Ya Brand Inc., 524 F. Supp. 2d 1184,
                   11    1196 (C.D. Cal. 2007) (citation omitted) (discussing legislative history of Section 1202).
                   12           Courts interpreting Section 1202 of the DMCA have repeatedly held that it does not apply
                   13    to CMI attached to a work other than that of the copyright owner, even if it is an unauthorized
                   14    derivative. See, e.g., Michael Grecco Prods., Inc. v. Time USA, LLC, 2021 WL 3192543, at *5
                   15    (S.D.N.Y. July 27, 2021) (“A party that puts its own CMI on work distinct from work owned by a
                   16    copyright holder is not liable under Section 1202(a) even if the party’s work incorporates the
                   17    copyright holder’s work.”); Park v. Skidmore, Owings & Merrill LLP, 2019 WL 9228987, at *11
                   18    (S.D.N.Y. Sept. 30, 2019) (“[Defendant] has not violated [1202(a)] by claiming authorship over 1
                   19    WTC, even if it is improperly derivative of Cityfront ’99.”). For example, in Crowley v. Jones, the
                   20    district court dismissed a 1202(a) claim in which the defendant had allegedly used a cropped
                   21    version of the plaintiffs’ photograph in the cover of a hip-hop album, explaining that “a defendant
                   22    cannot violate the DMCA by associating its name with a derivative work that is unquestionably a
                   23    distinct work, even if the derivative work infringes a copyright.” 608 F. Supp. 3d 78, 90 (S.D.N.Y.
                   24    2022). This makes sense, because otherwise virtually every claim of copyright infringement would
                   25    necessarily be a claim for violation of the DMCA. That is not the law.
                   26           Second, the Complaint does not explain exactly how Meta conveyed “false” CMI. Beyond
                   27    a passing insinuation (¶ 51), there are no allegations that Meta’s assertion of copyright ownership
                   28    in LLaMA is false. Plaintiffs acknowledge that Meta created LLaMA (¶ 50), from which it follows
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                    1    that Meta could rightfully claim copyright ownership in it. 17 U.S.C. § 201. Further, as explained
                    2    above, Plaintiffs do not (and cannot) plausibly allege that LLaMA is an infringing derivative work.
                    3           Third, the claim fails because Plaintiffs do not and cannot plausibly plead that Meta acted
                    4    with the requisite scienter. There is no allegation at all that Meta knowingly provided false CMI
                    5    “with the intent to induce, enable, facilitate, or conceal infringement.” 17 U.S.C. § 1202(a)(1)
                    6    (emphasis added). The bald allegation that Meta “knew or had reasonable grounds to know” that
                    7    “removal of CMI would facilitate copyright infringement” (¶ 52) is insufficient. Further, any
                    8    contention that Meta “knew” its claim of rights in LLaMA was false is defeated by the lone
                    9    allegation Plaintiffs plead to support it, i.e., that Meta submitted a takedown notice to GitHub in
                   10    which it asserted copyright ownership in LLaMA. Under 17 U.S.C. § 512(c)(3)(A), a DMCA
                   11    takedown notice requires, among other things, statements that “the complaining party has a good
                   12    faith belief that use of the material in the manner complained of is not authorized by the copyright
                   13    owner … or the law,” and “under penalty of perjury, that the complaining party is authorized to act
                   14    on behalf of the owner of an exclusive right that is allegedly infringed.” Plaintiffs plead no facts
                   15    from which one could reasonably infer that Meta made these representations knowing that they
                   16    were false. See Krechmer v. Tantaros, 747 Fed. App’x 6, 9 (2d Cir. 2018) (upholding dismissal of
                   17    1202(a)(1) claim because plaintiff did not plausibly allege knowledge or intent). To the contrary,
                   18    the only plausible inference to be drawn from Plaintiffs’ allegations is that Meta actually believes
                   19    itself to be the copyright owner of the LLaMA models, and for good reason.
                   20                   2.      Plaintiffs fail to state a claim under Section 1202(b)(1)
                   21           Plaintiffs’ 1202(b)(1) claim is equally defective. They allege that Meta violated that section
                   22    by “cop[ying]” Plaintiffs’ works and “us[ing] them as training data for the LLaMA language
                   23    models,” a process which, “[b]y design … does not preserve any CMI.” (¶ 49.) What this means
                   24    is difficult to discern, but Plaintiffs appear to posit that because training LLaMA purportedly
                   25    “extracted” “expressive information” (¶¶ 41, 44) from their books without preserving or including
                   26    CMI (¶ 49), this somehow constitutes “removal” of CMI under Section 1202(b)(1). It does not.
                   27           First, the process that Plaintiffs describe in the Complaint would, if anything, constitute an
                   28    omission of CMI, not a “removal.” Merriam-Webster defines “removal” as occurring when
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                    1    something is separated or moved from its original position; “omission” occurs when something is
                    2    excluded or unacknowledged. (Lauter Exs. 3, 4.) Thus, as noted above, courts interpret Section
                    3    1202(b)(1) to apply only to “removal” of CMI from original, otherwise identical, works. See, e.g.,
                    4    Kelly v. Arriba Soft Corp., 77 F. Supp. 2d 1116, 1122 (C.D. Cal. 1999), aff’d in part, rev’d in part,
                    5    280 F.3d 934 (9th Cir. 2002); Dolls Kill, Inc. v. Zoetop Bus. Co., 2022 WL 16961477, at *3–4 (C.D.
                    6    Cal. Aug. 25, 2022). For example, in Falkner v. General Motors LLC, the court rejected a Section
                    7    1202(b)(1) claim brought by a mural artist, in which he alleged that a photographer removed CMI
                    8    from one of his murals by photographing it at an angle from which his signature was not visible.
                    9    393 F. Supp. 3d 927, 938 (C.D. Cal. 2018). The court reasoned that the defendant’s “failure to
                   10    include” CMI could not be regarded as a “removal” under any ordinary definition of that term. Id.
                   11            Here, Plaintiffs do not allege that Meta removed CMI from their books by, for example,
                   12    deleting the author’s names or copyright notices from the text files that contain them. Rather,
                   13    Plaintiffs contend that Meta designed the LLaMA training process to exclude CMI from the
                   14    “expressive information” extracted from their books, i.e., not to extract it in the first place. That is,
                   15    by definition, an alleged omission akin to the Falkner defendant’s photo framing, and not a
                   16    cognizable removal under Section 1202(b). Dismissal with prejudice is appropriate on this basis.
                   17            Second, even if Plaintiffs had pleaded that Meta removed CMI from their books, they have
                   18    not adequately pleaded that Meta did so intentionally, with knowledge or reason to know that it
                   19    would cause or facilitate infringement. “[T]he mental state requirement in Section 1202(b)” has “a
                   20    more specific application than the universal possibility of encouraging infringement; specific
                   21    allegations as to how identifiable infringements ‘will’ be affected are necessary.” Stevens v.
                   22    Corelogic, Inc., 899 F.3d 666, 674 (9th Cir. 2018) (affirming grant of summary judgment to
                   23    defendant on § 1202(b) claim). Accordingly, a “plaintiff must provide evidence from which one
                   24    can infer that future infringement is likely, albeit not certain, to occur as a result of the removal or
                   25    alteration of CMI.” Id. at 675.
                   26            Although Stevens addressed scienter at the summary judgment stage, pleading a claim under
                   27    1202(b) still requires “specific allegations as to how identifiable infringements will be affected by
                   28    [d]efendants’ alleged removing or altering of CMI,” a “pattern of conduct demonstrating [that]
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                    1    [d]efendants knew or had reason to know that their actions would cause future infringement,” and
                    2    “non-conclusory” facts demonstrating the requisite scienter. Mills v. Netflix, Inc., 2020 WL
                    3    548558, at *3 (C.D. Cal. Feb. 3, 2020) (dismissing DMCA claim because scienter was inadequately
                    4    pleaded); O’Neal, 583 F. Supp. 3d at 1287 (same). Scienter need not be pleaded with particularity,
                    5    but it still must be plausibly alleged. Iqbal, 556 U.S. at 686-87 (“Rule 9 merely excuses a party
                    6    from pleading [knowledge] under an elevated pleading standard. It does not give him license to
                    7    evade the less rigid - though still operative - strictures of Rule 8”).
                    8            Here, Plaintiffs allege that “Meta knew or had reasonable grounds to know” that removing CMI
                    9    (or, more accurately, failing to “preserve” it) “would facilitate copyright infringement by concealing
                   10    the fact that every output from the LLaMA language models is an infringing derivative work.” (¶¶ 49,
                   11    52.) This fails for the simple reason that, as explained above, Plaintiffs have not plausibly alleged
                   12    that any LLaMA outputs are infringing. Meta could not have “removed” CMI intending to conceal
                   13    infringement of which it was not allegedly aware and which Plaintiffs never identify.
                   14                    3.      Plaintiffs fail to state a claim under Section 1202(b)(3)
                   15            Plaintiffs also allege that Meta violated Section 1202(b)(3) by “creat[ing] derivative works
                   16    based on Plaintiffs’ Infringed Works” and “distributing [them] without [Plaintiffs’] CMI.” (¶ 50.)
                   17    Since the only “derivative work” Meta is accused of creating is LLaMA, itself (¶ 41), this allegation
                   18    distills to a charge that Meta somehow unlawfully removed CMI from LLaMA. This claim is
                   19    fundamentally incompatible with the language of Section 1202(b)(3), which prohibits distribution
                   20    of copies of works with CMI removed “without the authority of the copyright owner” of that work.
                   21    17 U.S.C. § 1202(b). As Plaintiffs acknowledge, Meta “created” LLaMA. (¶ 50.) Thus, Meta is
                   22    the author of LLaMA and the sole party in whom copyright ownership and authority over LLaMA
                   23    vests. 17 U.S.C. § 201(a). By the same token, none of the Plaintiffs could legitimately claim to be
                   24    the author or copyright owner of the LLaMA language models. Their attempt to hold Meta liable
                   25    for not including all Plaintiffs’ CMI on LLaMA—even though Plaintiffs are not LLaMA’s authors
                   26    or copyright owners and such CMI would, by definition, be false—finds no basis in the DMCA.
                   27            And if the foregoing was somehow insufficient to justify dismissal with prejudice, Plaintiffs
                   28    also do not allege what CMI was removed from LLaMA or how, let alone how such removal could
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                    1    conceivably conceal that “every output from the LLaMA language models is an infringing
                    2    derivative work.” (¶ 52 (emphasis added).) Nor could they. Perhaps Plaintiffs mean to suggest
                    3    that Meta was obligated to identify Plaintiffs’ CMI in connection with distribution of LLaMA. That
                    4    is a different claim from the one pleaded, namely, that Meta removed CMI from LLaMA, and
                    5    distributed copies of LLaMA with CMI having been removed. (See ¶ 50.) In any case, such claim
                    6    would be subject to dismissal on the grounds that (1) it does not describe a “removal” of CMI, and
                    7    (2) Section 1202(b)(3) applies only to distribution of exact copies of a party’s works with CMI
                    8    removed (see O’Neal, 583 F. Supp. 3d at 1287). Here, Plaintiffs allege that both LLaMA and its
                    9    outputs are “infringing derivative works”; not identical copies. (¶¶ 41, 44.) This claim fails.
                   10           D.    Plaintiffs Fail to State a Claim for Unfair Competition (Claim 4)
                   11           Plaintiff’s UCL claim also fails as a matter of law. The UCL prohibits business practices
                   12    that are (1) unlawful, (2) fraudulent, or (3) unfair. Hadley v. Kellogg Sales Co., 243 F. Supp. 3d
                   13    1074, 1105 (N.D. Cal. 2017). Plaintiffs plead violation of the “unlawful” prong based on two
                   14    alleged predicate acts: (1) “violating Plaintiffs’ rights under the DMCA”; and (2) “using Plaintiffs’
                   15    Infringed Works to train LLaMA” without authorization.3 (¶ 55.) Neither supports a claim.
                   16           The first basis fails because, as discussed above, Plaintiffs fail to state a DMCA violation.
                   17    The UCL unlawful prong “borrows violations of other laws and treats them as unlawful practices
                   18    that the unfair competition law makes independently actionable.” Id. (quoting Alvarez v. Chevron
                   19    Corp., 656 F.3d 925, 933 n.8 (9th Cir. 2011)). A UCL unlawful claim “cannot survive” where, as
                   20    here, it is predicated on a defective claim. Mohanna v. Carrington Mortg. Servs. LLC, 2018 WL
                   21    3730419, at *8 (N.D. Cal. Aug. 6, 2018) (dismissing UCL claim for lack of predicate violation).
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                   23      Plaintiffs also include an off-hand reference to alleged “fraudulent” conduct. (¶ 58 (alleging
                         “consumers are likely to be deceived” because unidentified output from LLaMA has been “emitted
                   24    without any credit to Plaintiffs … whose Infringed Works comprise LLaMA’s training dataset”).) A
                         UCL fraud claim requires Plaintiffs to allege they were deceived, which Plaintiffs cannot do
                   25    here. See Equinox Hotel Mgmt., Inc. v. Equinox Holdings, Inc., 2018 WL 659105, at *13 (N.D.
                         Cal. Feb. 1, 2018); Berk v. Coinbase, Inc., 2019 WL 3561926, at *4 (N.D. Cal. Aug. 6, 2019)
                   26    (Chhabria, J.) (dismissing UCL fraud claim for failure to “particularly plead reliance” by plaintiffs),
                         rev’d and remanded on other grounds, 840 F. App’x 914 (9th Cir. 2020). Further, absent
                   27    identification of specific “deceptive” outputs, this claim fails even to satisfy Rule 8, much less Rule
                         9’s heightened pleading standard. See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th
                   28    Cir. 2003) (“fraud must be accompanied by the ‘who, what, when, where, and how’”).
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                    1           The second basis, which concerns Meta’s use of Plaintiffs’ copyrighted works to train
                    2    LLaMA, is merely a recasting of its claim for copyright infringement and, therefore, preempted by
                    3    the Copyright Act. Under the Copyright Act, “all legal or equitable rights that are equivalent to
                    4    any of the exclusive rights within the general scope of copyright as specified by section 106 … are
                    5    governed exclusively by this title,” and no person “is entitled to any such right or equivalent right
                    6    in any such work under the common law or statutes of any State.” 17 U.S.C. § 301(a).
                    7           The Ninth Circuit uses a two-part test to assess whether a state law claim is preempted by
                    8    the Copyright Act. Maloney v. T3Media, Inc., 853 F.3d 1004, 1010 (9th Cir. 2017)). First, it asks
                    9    whether the “subject matter” of the claim falls within the subject matter of copyright described in
                   10    17 U.S.C. §§ 102, 103. If so, the court must “determine whether the rights asserted under state law
                   11    are equivalent to the rights contained in” Section 106. Laws v. Sony Music Entm’t, Inc., 448 F.3d
                   12    1134, 1138 (9th Cir. 2006). “[T]he state cause of action must protect rights which are qualitatively
                   13    different from the copyright rights. The state claim must have an extra element which changes the
                   14    nature of the action.” Del Madera Props. v. Rhodes & Gardner, Inc., 820 F.2d 973 (9th Cir.
                   15    1987), overruled on other grounds, Fogerty v. Fantasy, Inc., 510 U.S. 517 (1994).
                   16           Here, the subject matter of Plaintiffs’ UCL claim is their copyrighted books, which plainly
                   17    falls within the subject matter of copyright. See Maloney, 853 F.3d at 1011. Further, the purported
                   18    violation is Meta’s unauthorized “use[]” of those books “to train LLaMA.” (¶ 57.) Although
                   19    Plaintiffs artfully direct their UCL claim to improper “use” as opposed to “copying” (id.), the only
                   20    unauthorized “use” of Plaintiffs works Meta is alleged to have made was to copy them in training
                   21    LLaMA (see ¶ 40), which likewise falls squarely within the ambit of 17 U.S.C. § 106(1) (granting
                   22    the copyright owner the exclusive right to “reproduce the copyrighted work in copies”). To the
                   23    extent Plaintiffs’ UCL claim is premised on unauthorized use or copying of their books, it must be
                   24    dismissed with prejudice as preempted. See Sybersound Records, Inc. v. UAV Corp., 517 F.3d
                   25    1137, 1152 (9th Cir. 2008) (affirming dismissal of UCL claim with prejudice as preempted); Oracle
                   26    Am., Inc. v. Hewlett Packard Enter. Co., 823 F. App’x 516, 519 (9th Cir. 2020) (affirming summary
                   27    judgment on preemption grounds); Kodadek v. MTV Networks, Inc., 152 F.3d 1209, 1213 (9th Cir.
                   28    1998) (same).
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                    1           E.    Plaintiffs Fail to State a Claim for Unjust Enrichment (Claim 5)
                    2           Like their UCL claim, Plaintiffs’ claim for “unjust enrichment” under California common
                    3    law is coextensive with their copyright claim and, thus, preempted under Section 301. Specifically,
                    4    Plaintiffs allege that Meta “unjustly utilized access to the Infringed Works to train LLaMA.” (¶ 3
                    5    at 9.) That is identical to, not “qualitatively different from,” Plaintiffs’ copyright rights. Del
                    6    Madera Props., 820 F.2d at 977 (dismissing unjust enrichment claim based on an implied promise
                    7    not to use copyrighted work). The unjust enrichment claim should be dismissed with prejudice.
                    8           Even if Plaintiffs’ unjust enrichment claim were not preempted (it is), dismissal would still
                    9    be warranted. Courts in this Circuit interpret a standalone claim for “unjust enrichment” as a “quasi-
                   10    contract claim seeking restitution.” Rabin v. Google LLC, 2023 WL 4053804, at *12 (N.D. Cal.
                   11    June 15, 2023) (quoting Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015));
                   12    see also Locklin v. StriVectin Operating Co., 2022 WL 867248, at *3 (N.D. Cal. Mar. 23, 2022)
                   13    (Chhabria, J.). Because Plaintiffs do not and cannot allege the required “affiliation or connection
                   14    [with Meta] to invoke a quasi-contract theory of liability,” Claim 5 should be dismissed with prejudice
                   15    for this additional reason. Sugarfina, Inc. v. Sweet Pete’s LLC, 2017 WL 4271133, at *8 (C.D. Cal.
                   16    Sept. 25, 2017) (dismissing unjust enrichment claim in trademark dispute with prejudice).
                   17           F.    Plaintiffs Fail to State a Claim for Negligence (Claim 6)
                   18           Plaintiffs theorize that Meta owed them and breached a general duty of care by negligently
                   19    (1) “collecting, maintaining and controlling Plaintiffs’ and Class members’ Infringed Works”; and
                   20    (2) “engineering, designing, maintaining and controlling systems—including LLaMA—which are
                   21    trained on Plaintiffs’ and Class members’ Infringed Works without their authorization.” (¶ 11 at
                   22    10.) In other words: Meta allegedly copied Plaintiffs’ books in the process of training LLaMA
                   23    without their consent. This claim is preempted and fails to state a claim in any event.
                   24           First, as to preemption, the “duty” to which Plaintiffs obliquely refer is, in effect, an
                   25    obligation not to copy their copyrighted books without permission. Plainly, Plaintiffs have “merely
                   26    recharacterize[d] a copyright infringement claim as one for negligence.” See Dielsi v. Falk, 916 F.
                   27    Supp. 985, 992 (C.D. Cal. 1996) (dismissing claim as preempted); Cromwell v. Certified Forensic
                   28    Loan Auditors, 2019 WL 1095837, at *11 (N.D. Cal. Jan. 10, 2019) (rejecting as preempted a
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                    1    negligence claim premised on defendant’s unauthorized publication of a book online). Whether
                    2    cast as an issue of unfair competition, unjust enrichment, or negligence, Plaintiffs’ claim that Meta
                    3    made unauthorized copies of Plaintiffs’ books in the process of training LLaMA is a paradigmatic
                    4    copyright claim governed exclusively by the Copyright Act. The negligence claim cannot stand.
                    5           Second, Plaintiffs plead the elements of negligence in only a threadbare and conclusory
                    6    manner, which does not suffice. Iqbal, 556 U.S. at 678. In addition to the “existence of a duty,
                    7    [and] a breach of that duty,” they were also required to allege “damages proximately caused by the
                    8    breach.” Mayall ex rel. H.C. v. USA Water Polo, Inc., 909 F.3d 1055, 1060 (9th Cir. 2018).
                    9    Plaintiffs make no attempt to do so. They do not even allege that they suffered damages, let alone
                   10    what those damages consist of and how Meta supposedly caused them. (See ¶¶ 9–14 at 9–10.)
                   11    Dismissal is required. See Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1031–32 (N.D. Cal. 2012)
                   12    (dismissing negligence claim for failure to allege an “appreciable, nonspeculative, present injury”).
                   13           Third, even if Plaintiffs had pleaded that they were injured by Meta’s alleged “use” of the
                   14    Infringed Works (they have not), the claim is barred by the “economic loss doctrine.” In actions
                   15    for negligence in California, recovery of purely economic loss is foreclosed in the absence of
                   16    “(1) personal injury, (2) physical damage to property, (3) a ‘special relationship’ existing between
                   17    the parties, or (4) some other common law exception to the rule.” Kalitta Air, LLC v. Cent. Tex.
                   18    Airborne Sys., Inc., 315 App’x 603, 605 (9th Cir. 2008) (quoting J’Aire Corp. v. Gregory, 24 Cal.
                   19    3d 799, 804 (1979)); see also Strumlauf v. Starbucks Corp., 192 F. Supp. 3d 1025, 1035 (N.D. Cal.
                   20    2016) (granting motion to dismiss on ground that economic loss doctrine barred plaintiff’s claim).
                   21    To the extent that the Complaint includes any vague suggestion of injury, that injury is purely
                   22    economic in nature. Plaintiffs were therefore required to also plead an exception to the economic
                   23    loss rule, which they have not attempted to do, warranting dismissal.
                   24    V.     CONCLUSION
                   25           Plaintiffs’ efforts to contort copyright law to manufacture infringement claims against Meta
                   26    are as unavailing as their efforts to recast those defective claims under California statutory and
                   27    common law. For all of the foregoing reasons, Claim 1, in part, and Claims 2 through 6 should be
                   28    dismissed with prejudice.
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                             NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION


Richard Kadrey, Sarah Silverman, Christopher      Case No. 3:23-cv-03417-VC
Golden, Michael Chabon, Ta-Nehisi Coates, Junot
Díaz, Andrew Sean Greer, David Henry Hwang,       FIRST CONSOLIDATED AMENDED
Matthew Klam, Laura Lippman, Rachel Louise        COMPLAINT
Snyder, Ayelet Waldman, and Jacqueline Woodson,
                                                  Class Action
       Individual and Representative Plaintiﬀs,
       v.                                         Demand for Jury Trial
Meta Platforms, Inc., a Delaware corporation;
                                    Defendant.




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        Plaintiﬀs Richard Kadrey, Sarah Silverman, Christopher Golden, Michael Chabon, Ta-Nehisi

Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel

Louise Snyder, Ayelet Waldman, and Jacqueline Woodson (“Plaintiﬀs”), on behalf of themselves and

all others similarly situated, bring this Class Action Complaint (the “Complaint”) against Defendant

Meta Platforms, Inc. (“Meta”).

                                            I.    OVERVIEW

        1.      “Llama” is the name given to a series of large language models created and maintained

by Meta. A large language model is an AI software program designed to emit convincingly naturalistic

text outputs in response to user prompts.

        2.      Rather than being programmed in the traditional way, a large language model is

“trained” by copying massive amounts of text and extracting expressive information from it.         is body

of text is called the training dataset.

        3.      A large language model’s output is therefore entirely and uniquely reliant on the

material in its training dataset. Every time it assembles a text output, the model relies on the

information it extracted from its training dataset.   us, the decisions about what textual information to

include in the training dataset are deliberate and important choices.

        4.      Plaintiﬀs and Class members are authors of books. Plaintiﬀs and Class members have

copyrights in the books they published. Plaintiﬀs and Class members did not consent to the use of their

copyrighted books as training material for Llama 1 and Llama 2.

        5.      Nonetheless, their copyrighted materials were copied and ingested as part of training

Llama 1 and Llama 2. Many of Plaintiﬀs’ copyrighted books appear in the dataset that Meta has

admitted to using to train Llama 1. On information and belief, Plaintiﬀs’ copyrighted books also

appear in the dataset that Meta used to train Llama 2.




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                                II.     JURISDICTION AND VENUE

       6.          is Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this case

arises under the Copyright Act (17 U.S.C. § 101 et seq.).

       7.      Jurisdiction and venue is proper in this judicial district under 28 U.S.C. § 1391(c)(2)

because Defendant Meta Platforms, Inc. (“Meta”) is headquartered in this district, and thus a

substantial part of the events giving rise to the claim occurred in this district; and because a substantial

part of the events giving rise to Plaintiﬀs’ claims occurred in this District, and a substantial portion of

the aﬀected interstate trade and commerce was carried out in this District. Defendant has transacted

business, maintained substantial contacts, and/or committed overt acts in furtherance of the illegal

scheme and conspiracy throughout the United States, including in this District. Defendant’s conduct

has had the intended and foreseeable eﬀect of causing injury to persons residing in, located in, or

doing business throughout the United States, including in this District.

       8.      Under Civil Local Rule 3.2(d), assignment of this case to the San Francisco Division is

proper because Meta is headquartered in San Mateo County, where a substantial part of the events

giving rise to the claim occurred, a substantial amount part of the events giving rise to Plaintiﬀs’

claims and the interstate trade and commerce involved and aﬀected by Defendant’s conduct giving rise

to the claims herein occurred in this Division.

                                            III.    PARTIES

A.     Plaintiﬀs

       9.      Plaintiﬀ Richard Kadrey is a writer who lives in Pennsylvania and owns registered

copyrights in multiple works, including Sandman Slim.

       10.     Plaintiﬀ Sarah Silverman is a writer and performer who lives in California and owns a

registered copyright in one work, called The Bedwetter.

       11.     Plaintiﬀ Christopher Golden is a writer who lives in Massachusetts and owns registered

copyrights in multiple works, including Ararat.
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       12.     Plaintiﬀ Michael Chabon is an author who lives in California and owns registered

copyrights in multiple works, including The Amazing Adventures of Kavalier & Clay.

       13.     Plaintiﬀ Ta-Nehisi Coates is an author who lives in New York and owns registered

copyrights in multiple works, including The Beautiful Struggle.

       14.     Plaintiﬀ Junot Díaz is an author who lives in Massachusetts and owns registered

copyrights in multiple works, including Drown.

       15.     Plaintiﬀ Andrew Sean Greer is an author who lives in California and owns registered

copyrights in multiple works, including The Confessions of Max Tivoli.

       16.     Plaintiﬀ David Henry Hwang is a playwright and screenwriter who lives in New York

and owns registered copyrights in multiple works, including M. Butterfly.

       17.     Plaintiﬀ Matthew Klam is an author who lives in Washington, D.C. and owns registered

copyrights in multiple works, including Who is Rich?

       18.     Plaintiﬀ Laura Lippman is an author who lives in Maryland and owns registered

copyrights in multiple works, including After I’m Gone.

       19.     Plaintiﬀ Rachel Louise Snyder is an author who lives in Washington, D.C. and owns

registered copyrights in multiple works, including No Visible Bruises: What We Don’t Know About

Domestic Violence Can Kill Us.

       20.     Plaintiﬀ Ayelet Waldman is an author and screen and television writer who lives in

California and owns registered copyrights in multiple works, including Love and Other Impossible

Pursuits.

       21.     Plaintiﬀ Jacqueline Woodson is an author who lives in New York and owns registered

copyrights in multiple works, including Brown Girl Dreaming.

       22.     A nonexhaustive list of registered copyrights owned by Plaintiﬀs is included as

Exhibit A.


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B.       Defendant

         23.     Defendant Meta is a Delaware corporation with its principal place of business at 1601

Willow Road, Menlo Park, California 94025.

                             IV.     AGENTS AND CO-CONSPIRATORS

         24.       e unlawful acts alleged against the Defendant in this class action complaint were

authorized, ordered, or performed by the Defendant’s respective oﬃcers, agents, employees,

representatives, or shareholders while actively engaged in the management, direction, or control of the

Defendant’s businesses or aﬀairs.       e Defendant’s agents operated under the explicit and apparent

authority of their principals. Each Defendant, and its subsidiaries, aﬃliates, and agents operated as a

single unified entity.

         25.     Various persons and/or firms not named as Defendants may have participated as co-

conspirators in the violations alleged herein and may have performed acts and made statements in

furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other Defendants with

respect to the acts, violations, and common course of conduct alleged herein.

                                   V.      FACTUAL ALLEGATIONS

         26.     Meta is a diversified internet company that creates, markets, and sells software and

hardware technology products, including Facebook, Instagram, and Horizon Worlds. Meta also has a

large artificial-intelligence group called Meta AI that creates and distributes artificial-intelligence

software products.

         27.     Artificial intelligence is commonly abbreviated “AI.” AI software is designed to

algorithmically simulate human reasoning or inference, often using statistical methods.

         28.     In February 2023, Meta released the initial version of an AI product called LLaMA,

though Meta has since revised its spelling to “Llama.” Llama is a series of large language models. A

large language model (or “LLM” for short) is AI software designed to parse and emit natural language.

     ough a large language model is a software program, it is not created the way most software
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programs are—that is, by human software engineers writing code. Rather, a large language model is

“trained” by copying massive amounts of text from various sources and feeding these copies into the

model.       is corpus of input material is called the training dataset. During training, the large language

model copies each piece of text in the training dataset and extracts expressive information from it.       e

large language model progressively adjusts its output to more closely resemble the sequences of words

copied from the training dataset. Once the large language model has copied and ingested all this text, it

is able to emit convincing simulations of natural written language as it appears in the training dataset.

          29.     Much of the material in Meta’s training dataset, however, comes from copyrighted

works—including books written by Plaintiﬀs—that were copied by Meta without consent, without

credit, and without compensation.

          30.       e first version of Llama, called Llama 1, was trained between December 2022 and

February 2023.

          31.     In February 2023, Meta introduced Llama 1 in a paper called “[Llama 1]: Open and

Eﬃcient Foundation Language Models”1 (the “Llama 1 Paper”). In the Llama 1 Paper, Meta describes

the Llama 1 training dataset as “a large quantity of textual data” that was chosen because it was

“publicly available, and compatible with open sourcing.”

          32.     Open sourcing refers to putting data under a permissive style of copyright license called

an open-source license. Copyrighted materials, however, are not ordinarily “compatible with open

sourcing” unless and until the copyright owner first places the material under an open-source license,

thereby enabling others to do so later.

          33.     In the Llama 1 Paper, in a table describing the composition of the Llama 1 training

dataset, Meta notes that 85 gigabytes of the training data comes from a category called “Books.” Meta

further elaborates that “Books” comprises the text of books from two internet sources: (1) Project


1
    https://arxiv.org/pdf/2302.13971.pdf
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Gutenberg, an online archive of approximately 70,000 books that are out of copyright, and (2) “the

Books3 section of       ePile . . . a publicly available dataset for training large language models.”   e

Llama 1 Paper does not further describe the contents of Books3 or         e Pile.

           34.    But that information is available elsewhere.    e Pile is a dataset assembled by a

research organization called EleutherAI. In December 2020, EleutherAI discussed this dataset in a

paper called “     e Pile: An 800GB Dataset of Diverse Text for Language Modeling”2 (         e “EleutherAI

Paper”).

           35.      e EleutherAI Paper reveals that the Books3 dataset comprises 108 gigabytes of data,

or approximately 12% of the dataset, making it the third largest component of         e Pile by size.

           36.      e EleutherAI Paper describes the contents of Books3:

                  Books3 is a dataset of books derived from a copy of the contents of the
                  Bibliotik private tracker … Bibliotik consists of a mix of fiction and
                  nonfiction books and is almost an order of magnitude larger than our
                  next largest book dataset (BookCorpus2). We included Bibliotik because
                  books are invaluable for long-range context modeling research and
                  coherent storytelling.

           37.    Bibliotik is one of a number of notorious “shadow library” websites that also includes

Library Genesis (aka LibGen), Z-Library (aka B-ok), Sci-Hub, and Anna’s Archive.             e books and

other materials aggregated by these websites have also been available in bulk via torrent systems.

     ese shadow libraries have long been of interest to the AI-training community because of the large

quantity of copyrighted material they host. For that reason, these shadow libraries are also flagrantly

illegal.

           38.      e person who assembled the Books3 dataset, Shawn Presser, has confirmed in public

statements that it represents “all of Bibliotik”3 and contains 196,640 books.




2
    https://arxiv.org/pdf/2101.00027.pdf
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    https://twitter.com/theshawwn/status/1320282149329784833
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          39.     Many of Plaintiﬀs’ books appear in the Books3 dataset. A list of Plaintiﬀs’ books

currently known to exist in the Books3 dataset is attached as Exhibit B. Together, these books are

referred to as the Infringed Works.

          40.     Shawn Presser posts comments on the website Hacker News

(https://news.ycombinator.com) under the name “sillysaurusx.” In response to another commenter

asking about the origin of Books3 in 2020, Presser said, “It was bibliotik. . . .    e llama folks

[meaning Meta] had to [remove duplicates from] the books themselves. . . . Basically, the-eye.eu was

at one point hosting all of bibliotik, so I downloaded all the epubs [the native format for electronic

books] and converted them to text. I still have those epubs (incidentally thanks to Carmack, who

through a convoluted process managed to save the them and send them to me via snail mail).”4 On

information and belief, the only “Carmack” who could be identified mononymously on Hacker News

is prominent software engineer John Carmack, who was employed by Meta during the events

described by Presser.

          41.     Until August 2023, EleutherAI facilitated the download of copies of Books3 through its

website (https://pile.eleuther.ai/) by linking to a second site called   e Eye (the-eye.eu). In August

2023, the Books3 dataset was removed from          e Eye in response to a takedown notice by the Danish

Rights Alliance.

          42.     Until October 2023, the Books3 dataset was also available from a popular AI project

hosting service called Hugging Face (https://huggingface.co/datasets/the_pile_books3). In October

2023, the Books3 dataset was removed from Hugging Face, with a message that it “is defunct and no

longer accessible due to reported copyright infringement.”

          43.     On information and belief, the Books3 dataset is still circulating on the public internet

and can be downloaded by those suﬃciently motivated.


4
    https://news.ycombinator.com/item?id=36197731
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       44.     In the Llama 1 Paper, Meta says it copied material for the Llama 1 training dataset that

was “publicly available.” Importantly, however, “publicly available” does not mean “public domain.”

A work in the public domain is not protected by copyright. A work that is publicly available, on the

other hand, may still be protected by copyright and other intellectual-property laws.

       45.     Meta is well aware of this distinction. In the Llama 1 Paper, Meta describes Project

Gutenberg as comprising “books that are in the public domain,” whereas it acknowledges Books3 was

merely “a publicly available dataset” (emphases added).

       46.     Still, even “publicly available” is a misleading description of Books3.    e books in

Books3 were not put there by the copyright owners, including Plaintiﬀs. Rather, their books became

“publicly available” via Books3 only because of the willful eﬀorts of John Carmack, Shawn Presser,

and EleutherAI to copy and distribute them for free without the authorization of Plaintiﬀs.

       47.     Before Meta used Books3 for training its language models, it had already publicly

acknowledged the legal problems with Books3.

       48.     In November 2020, Meta AI researcher Tim Dettmers initiated a conversation on the

EleutherAI public Discord server about Meta’s interest in using    e Pile as training data.

       49.     Dettmers said, “It is really great work that you are doing with   e Pile. Having a large

public dataset that is easily accessible was long overdue!” A couple minutes later, Dettmers added, “A

colleague of mine and I wanted to use [   e Pile] dataset in our research and wondering what would be

the best way to build on your research eﬀorts.”

       50.     Leo Gao, an AI researcher aﬃliated with EleutherAI, exchanged a number of messages

with Dettmers, and then said, “any downstream use of the data can begin right away.”

       51.     Dettmers asked, “in other words you would be happy if we are already using the data?”

       52.     Gao responded, “yup, you can start now.”

       53.     Dettmers asked, “It is okay to download [    e Pile] from the server that you linked?”

       54.     Gao responded, “yeah, go right ahead.”
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          61.   In January 2021, Dettmers posted on the EleutherAI Discord server: “At Facebook

[since renamed Meta] there are a lot of people interested in working with [T]he [P]ile, including

myself,                                                                        Would there be interest in

working on this together,



          62.   Later that day, Dettmers added,




          63.




                      Nevertheless, between December 2022 and February 2023, Meta still included

Books3 in the training dataset for Llama 1, causing the books in Books3 to be copied and ingested

during the training process, and published Llama 1.

          64.   In August 2023, EleutherAI removed from public view these conversations between

Tim Dettmers, Stella Biderman, and Leo Gao concerning        e Pile and Books3.

          65.   At the launch of the Llama 1 language models in February 2023, Meta made those

models selectively available to organizations that requested access, saying:

                To maintain integrity and prevent misuse, we are releasing our model
                under a noncommercial license focused on research use cases. Access to
                the model will be granted on a case-by-case basis to academic
                researchers; those aﬃliated with organizations in government, civil
                society, and academia; and industry research laboratories around the
                world. People interested in applying for access can find the link to the
                application in our research paper.



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          66.     Meta has not disclosed what criteria it used to decide who was eligible to receive the

Llama 1 language models, nor who actually received them, nor whether Meta in fact adhered to its

stated criteria. On information and belief, Meta has in fact distributed the Llama 1 models to certain

people and entities, continues to do so, and has benefited financially from these acts. Meta would later

say that it “received unprecedented interest in the Llama 1 model we released for the research

community—more than 100,000 individuals and organizations have applied for access to Llama 1 and

tens of thousands are now using it to innovate.”      is implies that Meta’s original suggestion that

Llama 1 was focused on research was pretextual. Rather, Llama 1 was always intended to either

become commercially available and lucrative, or as a precursor to another product that would be

commercially available and lucrative.

          67.     In March 2023, the Llama 1 language models were leaked to a public internet site and

have continued to circulate. Meta has not disclosed what role it had, if any, in the leak.

          68.     Later in March 2023, Meta issued a DMCA takedown notice to a programmer on

GitHub who had released a tool that helped users download the leaked Llama 1 language models. In

the notice, Meta asserted copyright over the Llama 1 language models.

          69.     Between January and July 2023, Meta trained the successor to the Llama 1 language

models, called Llama 2. On information and belief, Llama 2 was also trained on Books3, because the

training period for Llama 2 (January–July 2023) overlapped with the training for Llama 1 (December

2022–February 2023), and took place before the initial complaint in this action was filed.

          70.     Meta released the Llama 2 models in July 2023, after the initial complaint in this action

was filed. Information about Llama 2 is available in a research paper released on July 19, 2023 called

“Llama 2: Open Foundation and Fine-Tuned Chat Models”5 (the “Llama 2 Paper”).




5
    https://arxiv.org/pdf/2307.09288.pdf
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          71.     With Llama 2, Meta abandoned all pretext of non-commercial purpose. According to

the FAQ for Llama 2,6 “Llama 2 is . . . available under a permissive commercial license, whereas

Llama 1 was limited to non-commercial use.”

          72.     In contrast to Llama 1, Meta chose not to reveal the training datasets for Llama 2.

According to the FAQ for Llama 2, “[Q:] Where did the data come from to train the models? . . . [A:]

A combination of sources are used for training.      ese sources include information that is publicly

available online and annotated data to train our models. . . . [Q:] Why are you not sharing the training

datasets for Llama 2? . . . [A:] data mixes are intentionally withheld for competitive reasons.”

          73.       is explanation, however, is likely pretextual. As explained in the Llama 2 Paper,

Llama 2—like Llama 1—was also trained on a “mix of publicly available data.” A more plausible

explanation for Meta’s decision to conceal its training data is to avoid scrutiny by those whose

copyrighted works were copied and ingested during the training process for Llama 2.

          74.     On information and belief, a key reason Meta chose not to share the training dataset for

Llama 2 was to avoid litigation from using copyrighted materials for training that Meta had previously

determined to be legally problematic. Indeed, as Meta acknowledged in its Form 10-Q filing on

October 26, 2023, Meta is the subject of lawsuits which are challenging the “alleged use of copyright-

protected content to train our [Meta’s] AI models” and “any negative outcome from any such lawsuits

could result in payments of substantial monetary damages or fines, or undesirable changes to our

products or business practices, and accordingly our business, financial condition, or results of

operations could be materially and adversely aﬀected.”

          75.       e Llama 2 Paper warns that the “Llama 2 models should be used carefully and

deployed only after significant safety tuning is applied” because “Llama 2 does not outperform other

models on toxicity metrics.”      e term toxicity metrics refers to measurements of a language model’s


6
    https://ai.meta.com/llama/faq/
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propensity to emit output that is oﬀensive, dangerous, or harmful. Meta “speculate[s] that [Llama’s

comparatively poor performance on toxicity metrics] may be because we refrained from aggressively

filtering the [training] data. … We reiterate that this … choice does imply that additional safety

mitigations should be applied before deployment.”

        76.    Despite these severe warnings, Meta still made the Llama 2 models available for free,

to anyone, for commercial or noncommercial purposes.

                                    VI.     CLAIM FOR RELIEF

                                    Direct Copyright Infringement
                                        17 U.S.C. § 101 et seq.

        77.    Plaintiﬀs incorporate by reference the preceding factual allegations.

        78.    As the owners of the registered copyrights in the Infringed Works, Plaintiﬀs hold the

exclusive rights to those books under 17 U.S.C. § 106.

        79.    To train the Llama 1 and Llama 2 language models, Meta copied the Books3 dataset,

which includes the Infringed Works.

        80.    Plaintiﬀs never authorized Meta to make copies of their Infringed Works, make

derivative works, publicly display copies (or derivative works), or distribute copies (or derivative

works). All those rights belong exclusively to Plaintiﬀs under copyright law.

        81.    Meta made copies of the Infringed Works during the training process of the Llama 1

and Llama 2 language models without Plaintiﬀs’ permission.

        82.    Plaintiﬀs have been injured by Meta’s acts of direct copyright infringement. Plaintiﬀs

are entitled to statutory damages, actual damages, restitution of profits, and other remedies provided

law.




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                                     VII.    CLASS ALLEGATIONS

A.     Class Definition

       83.     Plaintiﬀs bring this action for damages and injunctive relief as a class action under

Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of the following Class:

               All persons or entities domiciled in the United States that own a
               United States copyright in any work that was used as training data
               for any version of the Llama language models between July 7, 2020
               and the present (the “Class Period”).

       84.          is Class definition excludes:

               a.        Defendant named herein;

               b.        any of the Defendant’s co-conspirators;

               c.        any of Defendant’s parent companies, subsidiaries, and aﬃliates;

               d.        any of Defendant’s oﬃcers, directors, management, employees, subsidiaries,

                         aﬃliates, or agents;

               e.        all governmental entities; and

               f.        the judges and chambers staﬀ in this case, as well as any members of their

                         immediate families.

B.     Numerosity

       85.     Plaintiﬀs do not know the exact number of members in the Class.        is information is in

the exclusive control of Defendant. On information and belief, there are at least thousands of members

in the Class geographically dispersed throughout the United States.     erefore, joinder of all members

of the Class in the prosecution of this action is impracticable.

C.     Typicality

       86.     Plaintiﬀs’ claims are typical of the claims of other members of the Class because

Plaintiﬀs and all members of the Class were damaged by the same wrongful conduct of Defendant as

alleged herein, and the relief sought herein is common to all members of the Class.

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D.     Adequacy

       87.     Plaintiﬀs will fairly and adequately represent the interests of the members of the Class

because the Plaintiﬀs have experienced the same harms as the members of the Class and have no

conflicts with any other members of the Class. Furthermore, Plaintiﬀs have retained sophisticated and

competent counsel who are experienced in prosecuting federal and state class actions, as well as other

complex litigation.

E.     Commonality and Predominance

       88.        is action is appropriate as a class action under Rule 23(b)(3) of the Federal Rules of

Civil Procedure because common questions of law predominate over individual questions including:

          a. Whether Defendants’ copying and downloading of the Class’s copyrighted works and

              using them to train the Llama 1 and Llama 2 language models constitute copyright

              infringement;

          b. Whether any statutes of limitation limits Plaintiﬀs’ and the Class’s potential for

              recovery;

          c. Whether Defendants’ copying and downloading of the Class’s copyrighted works was

              fair use;

          d. Whether Class members were harmed by Meta’s copying and downloading of the

              Class’s Works to train the Llama 1 and Llama 2 language models, and whether Class

              members are entitled to damages, including statutory damage and the amount of such

              damages.

       89.        ese and other questions of law and fact are common to the Class predominate over

any questions aﬀecting the members of the Class individually.

F.     Other Class Considerations

       90.     Defendants have acted on grounds generally applicable to the Class.       is class action is

superior to alternatives, if any, for the fair and eﬃcient adjudication of this controversy. Prosecuting
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the claims pleaded herein as a class action will eliminate the possibility of repetitive litigation.    ere

will be no material diﬃculty in the management of this action as a class action.

       91.          e prosecution of separate actions by individual Class members would create the risk

of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants.

                                   VIII. DEMAND FOR JUDGMENT

       Wherefore, Plaintiﬀs request that the Court enter judgment on their behalf and on behalf of the

Class defined herein, by ordering:

             a)     is action may proceed as a class action, with Plaintiﬀs serving as Class

                  Representatives, and with Plaintiﬀs’ counsel as Class Counsel.Judgment in favor of

                  Plaintiﬀs and the Class and against Defendant.

             b) A declaration that Meta has infringed Plaintiﬀs and the Class’ exclusive copyrights in

                  the Infringed Works under the Copyright Act.

             c) A declaration that such infringement is willful.

             d) An award of Plaintiﬀs’ and the Class’ actual damages and profits under 17 U.S.C. §

                  504(b) as shall be determined at trial, or at their election, an award of statutory damages

                  in an amount to be determined at trial, as provided in 17 U.S.C. § 504(c), resulting from

                  Meta’s willful infringement of Plaintiﬀs’ and the Class’ exclusive copyrights in the

                  Infringed Works.

             e) An order of costs and allowable attorneys’ fees under 17 U.S.C. § 505.

             a) Pre- and post-judgment interest on the damages awarded to Plaintiffs and the Class, and

                  that such interest be awarded at the highest legal rate from and after the date this class

                  action complaint is first served on Defendant.




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           b) Defendants are to be jointly and severally responsible financially for the costs and

               expenses of a Court approved notice program through post and media designed to give

               immediate notification to the Class.

           c) Further relief for Plaintiffs and the Class as may be just and proper.

                                  IX.    JURY TRIAL DEMANDED

       Under Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the claims

asserted in this Complaint so triable.




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                      EXHIBIT C
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                                                               Extracting Training Data from Diffusion Models
                                                                   Nicholas Carlini∗1 Jamie Hayes∗2 Milad Nasr∗1
                                                               Matthew Jagielski+1 Vikash Sehwag+4 Florian Tramèr+3
                                                                   Borja Balle†2 Daphne Ippolito†1 Eric Wallace†5
                                                             1 Google   2 DeepMind    3 ETHZ     4 Princeton 5 UC Berkeley
                                                             ∗ Equal contribution + Equal contribution † Equal contribution

                                                                                                                      Training Set              Generated Image
                                                                Abstract
                                         Image diffusion models such as DALL-E 2, Imagen, and
                                         Stable Diffusion have attracted significant attention due
arXiv:2301.13188v1 [cs.CR] 30 Jan 2023




                                         to their ability to generate high-quality synthetic images.
                                         In this work, we show that diffusion models memorize
                                         individual images from their training data and emit them
                                         at generation time. With a generate-and-filter pipeline,
                                         we extract over a thousand training examples from state-
                                         of-the-art models, ranging from photographs of individ-                 Caption: Living in the light        Prompt:
                                                                                                                  with Ann Graham Lotz           Ann Graham Lotz
                                         ual people to trademarked company logos. We also train
                                         hundreds of diffusion models in various settings to an-           Figure 1: Diffusion models memorize individual train-
                                         alyze how different modeling and data decisions affect            ing examples and generate them at test time. Left: an
                                         privacy. Overall, our results show that diffusion models          image from Stable Diffusion’s training set (licensed CC
                                         are much less private than prior generative models such           BY-SA 3.0, see [49]). Right: a Stable Diffusion gen-
                                         as GANs, and that mitigating these vulnerabilities may            eration when prompted with “Ann Graham Lotz”. The
                                         require new advances in privacy-preserving training.              reconstruction is nearly identical (`2 distance = 0.031).


                                         1   Introduction
                                                                                                              In this work, we demonstrate that state-of-the-art dif-
                                         Denoising diffusion models are an emerging class of               fusion models do memorize and regenerate individual
                                         generative neural networks that produce images from               training examples. To begin, we propose and implement
                                         a training distribution via an iterative denoising pro-           new definitions for “memorization” in image models. We
                                         cess [64, 66, 33]. Compared to prior approaches such              then devise a two-stage data extraction attack that gener-
                                         as GANs [30] or VAEs [46], diffusion models produce               ates images using standard approaches, and flags those
                                         higher-quality samples [18] and are easier to scale [56]          that exceed certain membership inference scoring crite-
                                         and control [51]. Consequently, they have rapidly be-             ria. Applying this method to Stable Diffusion [58] and
                                         come the de-facto method for generating high-resolution           Imagen [60], we extract over a hundred near-identical
                                         images, and large-scale models such as DALL-E 2 [56]              replicas of training images that range from personally
                                         have attracted significant public interest.                       identifiable photos to trademarked logos (e.g., Figure 1).
                                            The appeal of generative diffusion models is rooted               To better understand how and why memorization oc-
                                         in their ability to synthesize novel images that are os-          curs, we train hundreds of diffusion models on CIFAR-
                                         tensibly unlike anything in the training set. Indeed, past        10 to analyze the impact of model accuracy, hyperparam-
                                         large-scale training efforts “do not find overfitting to be       eters, augmentation, and deduplication on privacy. Dif-
                                         an issue”, [60] and researchers in privacy-sensitive do-          fusion models are the least private form of image mod-
                                         mains have even suggested that diffusion models could             els that we evaluate—for example, they leak more than
                                         “protect[] the privacy [...] of real images” [37] by gen-         twice as much training data as GANs. Unfortunately, we
                                         erating synthetic examples [13, 14, 59, 2, 53]. This line         also find that existing privacy-enhancing techniques do
                                         of work relies on the assumption that diffusion models            not provide an acceptable privacy-utility tradeoff. Over-
                                         do not memorize and regenerate their training data. If            all, our paper highlights the tension between increasingly
                                         they did, it would violate all privacy guarantees and raise       powerful generative models and data privacy, and raises
                                         numerous questions regarding model generalization and             questions on how diffusion models work and how they
                                         “digital forgery” [65].                                           should be responsibly deployed.


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2      Background                                                               Training data privacy attacks. Neural networks of-
                                                                                ten leak details of their training datasets. Membership
Diffusion models. Generative image models have a long                           inference attacks [62, 80, 8] answer the question “was
history (see [29, Chapter 20]). Generative Adversarial                          this example in the training set?” and present a mild
Networks (GANs) [30] were the breakthrough that first                           privacy breach. Neural networks are also vulnerable to
enabled the generation of high-fidelity images at scale [6,                     more powerful attacks such as inversion attacks [27, 81]
44]. But over the last two years, diffusion models [64]                         that extract representative examples from a target class,
have largely displaced GANs: they achieve state-of-the-                         attribute inference attacks [28] that reconstruct subsets
art results on academic benchmarks [18] and form the                            of attributes of training examples, and extraction attacks
basis of all recently popularized image generators such as                      [10, 11, 5] that completely recover training examples. In
Stable Diffusion [58], DALL-E 2 [57, 56], Runway [58],                          this paper, we focus on each of these three attacks when
Midjourney [67] and Imagen [60].                                                applied to diffusion models.
   Denoising Diffusion Probabilistic Models [33]1 are                              Concurrent work explores the privacy of diffusion
conceptually simple: they are nothing more than im-                             models. Wu et al. [78] and Hu et al. [34] perform
age denoisers. During training, given a clean image x,                          membership inference attacks on diffusion models; our
we sample a time-step t ∈ [0, T ] and a Gaussian noise                          results use more sophisticated attack methods and study
vector ε√∼ N (0, I), to produce a noised image x0 ←                             stronger privacy risks such as data extraction. Somepalli
√
  at x+ 1 − at ε, for some decaying parameter at ∈ [0, 1]                       et al. [65] show several cases where (non-adversarially)
where a0 = 1 and aT = 0. A diffusion model fθ removes                           sampling from a diffusion model can produce memorized
the noise ε to recover the original image x by predicting                       training examples. However, they focus mainly on com-
the noise that was added by stochastically minimizing the                       paring the semantic similarity of generated images to the
objective N1 ∑i Et,ε L (xi ,t, ε; fθ ), where                                   training set, i.e., “style copying”. In contrast, we focus
                                                                                on worst-case privacy under a much more restrictive no-
                                 √
    L (xi ,t, ε; fθ ) = kε − fθ ( at xi + 1 − at ε,t)k22 . (1)
                                         p
                                                                                tion of memorization, and perform our attacks on a wider
                                                                                range of models.
   Despite being trained with this simple denoising ob-
jective, diffusion models can generate high-quality im-
ages by first sampling a random vector zT ∼ N (0, I) and                        3   Motivation and Threat Model
then applying the diffusion model fθ to remove the noise
from this random “image”. To make the denoising pro-                            There are two distinct motivations for understanding how
cess easier, we do not remove all of the noise at once—                         diffusion models memorize and regenerate training data.
we instead iteratively apply the model to slowly remove                         Understanding privacy risks. Diffusion models that
noise. Formally, the final image z0 is obtained from zT by                      regenerate data scraped from the Internet can pose sim-
iterating the rule zt−1 = fθ (zt ,t) + σt N (0, I) for a noise                  ilar privacy and copyright risks as language models [11,
schedule σt (dependent on at ) with σ1 = 0. This process                        7, 31]. For example, memorizing and regenerating copy-
relies on the fact that the model fθ was trained to denoise                     righted text [11] and source code [35] has been pointed
images with varying degrees of noise. Overall, running                          to as indicators of potential copyright infringement [76].
this iterative generation process (which we will denote                         Similarly, copying images from professional artists has
by Gen) with large-scale diffusion models produces re-                          been called “digital forgery” [65] and has spurred debate
sults that resemble natural images.                                             in the art community.
   Some diffusion models are further conditioned to gen-                           Future diffusion models might also be trained on more
erate a particular type of image. Class-conditional dif-                        sensitive private data. Indeed, GANs have already been
fusion models take as input a class-label (e.g., “dog” or                       applied to medical imagery [73, 20, 45], which under-
“cat”) alongside the noised image to produce a particu-                         lines the importance of understanding the risks of gener-
lar class of image. Text-conditioned models take this one                       ative models before we apply them to private domains.
step further and take as input the text embedding of some
                                                                                   Worse, a growing literature suggests that diffusion
prompt (e.g., “a photograph of a horse on the moon”) us-
                                                                                models could create synthetic training data to “protect
ing a pre-trained language encoder (e.g., CLIP [54]).
                                                                                the privacy and usage rights of real images” [37], and
    1 Our description of diffusion models below omits a number of sig-          production tools already claim to use diffusion models to
nificant details. However, these details are orthogonal to the results of       protect data privacy [71, 17, 12]. Our work shows diffu-
our attacks and we omit them for simplicity.                                    sion models may be unfit for this purpose.


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Understanding generalization. Beyond data privacy,                      Adversary goals. We consider three broad types of ad-
understanding how and why diffusion models memorize                     versarial goals, from strongest to weakest attacks:
training data may help us understand their generalization
capabilities. For instance, a common question for large-                 1. Data extraction: The adversary aims to recover an
scale generative models is whether their impressive re-                     image from the training set x ∈ D. The attack is
sults arise from truly novel generations, or are instead                    successful if the adversary extracts an image x̂ that
the result of direct copying and remixing of their train-                   is almost identical (see Section 4.1) to some x ∈ D.
ing data. By studying memorization, we can provide a
concrete empirical characterization of the rates at which                2. Data reconstruction: The adversary has partial
generative models perform such data copying.                                knowledge of a training image x ∈ D (e.g., a sub-
   In their diffusion model, Saharia et al. “do not find                    set of the image) and aims to recover the full image.
over-fitting to be an issue, and believe further training                   This is an image-analog of an attribute inference at-
might improve overall performance“ [60], and yet we                         tack [80], which aims to recover unknown features
will show that this model memorizes individual exam-                        from partial knowledge of an input.
ples. It may thus be necessary to broaden our definitions                3. Membership inference: Given an image x, the ad-
of overfitting to include memorization and related pri-                     versary aims to infer whether x is in the training set.
vacy metrics. Our results also suggest that Feldman’s
theory that memorization is necessary for generalization
in classifiers [24] may extend to generative models, rais-              3.2    Ethics and Broader Impact
ing the question of whether the improved performance
of diffusion models compared to prior approaches is pre-                Training data extraction attacks can present a threat to
cisely because diffusion models memorize more.                          user privacy. We take numerous steps to mitigate any
                                                                        possible harms from our paper. First, we study mod-
                                                                        els that are trained on publicly-available images (e.g.,
3.1    Threat Model                                                     LAION and CIFAR-10) and therefore do not expose any
Our threat model considers an adversary A that interacts                data that was not already available online.
with a diffusion model Gen (backed by a neural network                     Nevertheless, data that is available online may not
fθ ) to extract images from the model’s training set D.                 have been intended to be available online. LAION, for
                                                                        example, contains unintentionally released medical im-
Image-generation systems. Unconditional diffusion                       ages of several patients [23]. We also therefore en-
models are trained on a dataset D = {x1 , x2 , . . . , xn }.            sure that all images shown in our paper are of pub-
When queried, the system outputs a generated image                      lic figures (e.g., politicians, musicians, actors, or au-
xgen ← Gen(r) using a fresh random noise r as input.                    thors) who knowingly chose to place their images on-
Conditional models are trained on annotated images                      line. As a result, inserting these images in our paper
(e.g., labeled or captioned) D = {(x1 , c1 ), . . . , (xn , cn )}       is unlikely to cause any unintended privacy violation.
and when queried with a prompt p, the system outputs                    For example, Figure 1 comes from Ann Graham Lotz’s
xgen ← Gen(p; r) using the prompt p and noise r.                        Wikipedia profile picture and is licensed under Creative
Adversary capabilities. We consider two adversaries:                    Commons, which allows us to “redistribute the material
                                                                        in any medium” and “remix, transform, and build upon
   • A black-box adversary can query Gen to generate                    the material for any purpose, even commercially”.
     images. If Gen is a conditional generator, the adver-                 Third, we shared an advance copy of this paper with
     sary can provide arbitrary prompts p. The adversary                the authors of each of the large-scale diffusion models
     cannot control the system’s internal randomness r.                 that we study. This gave the authors and their corre-
   • A white-box adversary gets full access to the system               sponding organizations the ability to consider possible
     Gen and its internal diffusion model fθ . They can                 safeguards and software changes ahead of time.
     control the model’s randomness and can thus use                       In total, we believe that publishing our paper and pub-
     the model to denoise arbitrary input images.                       licly disclosing these privacy vulnerabilities is both eth-
                                                                        ical and responsible. Indeed, at the moment, no one ap-
In both cases, we assume that an adversary who attacks a                pears to be immediately harmed by the (lack of) privacy
conditional image generator knows the captions for some                 of diffusion models; our goal with this work is thus to
images in the training set—thus allowing us to study the                make sure to preempt these harms and encourage respon-
worst-case privacy risk in diffusion models.                            sible training of diffusion models in the future.


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4     Extracting Training Data from State-of-
      the-art Diffusion Models
We begin our paper by extracting training images from
large, pre-trained, high-resolution diffusion models.


4.1     Defining Image Memorization
Most existing literature on training data extraction fo-
cuses on text language models, where a sequence is said                        Figure 2: We do not count the generated image of Obama
to be “extracted” and “memorized” if an adversary can                          (at left) as memorized because it has a high `2 distance
prompt the model to recover a verbatim sequence from                           to every training image. The four nearest training images
the training set [11, 41]. Because we work with high-                          are shown at right, each has a distance above 0.3.
resolution images, verbatim definitions of memorization
are not suitable. Instead, we define a notion of approxi-
mate memorization based on image similarity metrics.                           Restrictions of our definition. Our definition of extrac-
                                                                               tion is intentionally conservative as compared to what
Definition 1 ((`, δ )-Diffusion Extraction) [adapted                           privacy concerns one might ultimately have. For ex-
from [11]]. We say that an example x is extractable from                       ample, if we prompt Stable Diffusion to generate “A
a diffusion model fθ if there exists an efficient algorithm                    Photograph of Barack Obama,” it produces an entirely
A (that does not receive x as input) such that x̂ = A ( fθ )                   recognizable photograph of Barack Obama but not an
has the property that `(x, x̂) ≤ δ .                                           near-identical reconstruction of any particular training
                                                                               image. Figure 2 compares the generated image (left)
Here, ` is a distance function and δ is a threshold that                       to the 4 nearest training images under the Euclidean 2-
determines whether we count two images as being iden-                          norm (right). Under our memorization definition, this
tical. In this paper, unless otherwise noted we follow                         image would not count as memorized. Nevertheless, the
Balle et al.p[5] and use the Euclidean 2-norm distance                         model’s ability to generate (new) recognizable pictures
`2 (a, b) = ∑i (ai − bi )2 /d where d is the dimension of                      of certain individuals could still cause privacy harms.
the inputs to normalize ` ∈ [0, 1]. Given this definition of
extractability, we can now define memorization.
                                                                               4.2    Extracting Data from Stable Diffusion
Definition 2 ((k, `, δ )-Eidetic Memorization) [adapted                        We now extract training data from Stable Diffusion: the
from [11]]. We say that an example x is (k, `, δ )-Eidetic                     largest and most popular open-source diffusion model
memorized 2 by a diffusion model if x is extractable from                      [58]. This model is an 890 million parameter text-
the diffusion model, and there are at most k training                          conditioned diffusion model trained on 160 million im-
examples x̂ ∈ X where `(x, x̂) ≤ δ .                                           ages. We generate from the model using the default
                                                                               PLMS sampling scheme at a resolution of 512 × 512 pix-
Again, ` is a distance function and δ is its correspond-                       els. As the model is trained on publicly-available images,
ing threshold. The constant k quantifies the number of                         we can easily verify our attack’s success and also mit-
near-duplicates of x in the dataset. If k is a small frac-                     igate potential harms from exposing the extracted data.
tion of the data, then memorization is likely problematic.                     We begin with a black-box attack.
When k is a larger fraction of data, memorization might
be expected—but it could still be problematic, e.g., if the                    Identifying duplicates in the training data. To reduce
duplicated data is copyrighted.                                                the computational load of our attack, as is done in [65],
                                                                               we bias our search towards duplicated training examples
   2 This paper covers a very restricted definition of “memorization”:
                                                                               because these are orders of magnitude more likely to be
whether diffusion models can be induced to generate near-copies of
some training examples when prompted with appropriate instructions.            memorized than non-duplicated examples [47, 41].
We will describe an approach that can generate images that are close              If we search for images that are bit-for-bit identically
approximations of some training images (especially images that are fre-        duplicated in the training dataset, we would significantly
quently represented in the training dataset through duplication or other
means). There is active discussion within the technical and legal com-
                                                                               undercount the true rate of duplication. Instead, we ac-
munities about whether the presence of this type of “memorization”             count for near-duplication. Ideally, we would search for
suggests that generative neural networks “contain” their training data.        any training examples that are nearly duplicated with a


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    Original:



   Generated:

Figure 3: Examples of the images that we extract from Stable Diffusion v1.4 using random sampling and our mem-
bership inference procedure. The top row shows the original images and the bottom row shows our extracted images.


pixel-level `2 distance below some threshold. But this             threat model in this section, we do not have access to
is computationally intractable, as it would require an all-        the loss and cannot exploit techniques from state-of-the-
pairs comparison of 160 million images in Stable Dif-              art membership inference attacks [11]. We instead de-
fusion’s training set, each of which is a 512 × 512 × 3            sign a new membership inference attack strategy based
dimensional vector. Instead, we first embed each image             on the intuition that for diffusion models, with high prob-
to a 512 dimensional vector using CLIP [54], and then              ability Gen(p; r1 ) 6= Gen(p; r2 ) for two different random
perform the all-pairs comparison between images in this            initial seeds r1 , r2 . On the other hand, if Gen(p; r1 ) ≈d
lower-dimensional space (increasing efficiency by over             Gen(p; r2 ) under some distance measure d, it is likely
1500×). We count two examples as near-duplicates if                that these generated samples are memorized examples.
their CLIP embeddings have a high cosine similarity. For              The 500 images that we generate for each prompt have
each of these near-duplicated images, we use the corre-            different (but unknown) random seeds. We can therefore
sponding captions as the input to our extraction attack.           construct a graph over the 500 generations by connect-
                                                                   ing an edge between generation i and j if xi ≈d x j . If
4.2.1   Extraction Methodology                                     the largest clique in this graph is at least size 10 (i.e.,
                                                                   ≥ 10 of the 500 generations are near-identical), we pre-
Our extraction approach adapts the methodology from                dict that this clique is a memorized image. Empirically,
prior work [11] to images and consists of two steps:               clique-finding is more effective than searching for pairs
                                                                   of images x1 ≈d x2 as it has fewer false positives.
 1. Generate many examples using the diffusion model
                                                                      To compute the distance measure d among the images
    in the standard sampling manner and with the
                                                                   in the clique, we use a modified Euclidean `2 distance.
    known prompts from the prior section.
                                                                   In particular, we found that many generations were often
 2. Perform membership inference to separate the                   spuriously similar according to `2 distance (e.g., they all
    model’s novel generations from those generations               had gray background). We therefore instead divide each
    which are memorized training examples.                         image into 16 non-overlapping 128 × 128 tiles and mea-
                                                                   sure the maximum of the `2 distance between any pair of
                                                                   image tiles between the two images.
Generating many images. The first step is trivial but
computationally expensive: we query the Gen function
in a black-box manner using the selected prompts as in-            4.2.2   Extraction Results
put. To reduce the computational overhead of our experi-
                                                                   In order to evaluate the effectiveness of our attack, we
ments, we use the timestep-resampled generation imple-
                                                                   select the 350,000 most-duplicated examples from the
mentation that is available in the Stable Diffusion code-
                                                                   training dataset and generate 500 candidate images for
base [58]. This process generates images in a more ag-
                                                                   each of these prompts (totaling 175 million generated im-
gressive fashion by removing larger amounts of noise at
                                                                   ages). We first sort all of these generated images by or-
each time step and results in slightly lower visual fidelity
                                                                   dering them by the mean distance between images in the
at a significant (∼ 10×) performance increase. We gener-
                                                                   clique to identify generations that we predict are likely to
ate 500 candidate images for each text prompt to increase
                                                                   be memorized training data. We then take each of these
the likelihood that we find memorization.
                                                                   generated images and annotate each as either “extracted”
Performing membership inference. The second step                   or “not extracted” by comparing it to the training images
requires flagging generations that appear to be memo-              under Definition 1. We find 94 images are (`2 , 0.15)-
rized training images. Since we assume a black-box                 extracted. To ensure that these images not only match


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                      1.0
                                                                                          30

                      0.9
   Attack Precision




                                                                              Frequency
                                                                                          20
                      0.8

                                                                                          10
                      0.7
                                Manual Inspection
                      0.6       (`2 , 0.15)-Extraction                                     0
                                                                                               10   30   100 300 1000 3000
                            0   20     40      60      80     100                                     Number of duplicates
                                 Memorized Examples Extracted

Figure 4: Our attack reliably separates novel genera-                       Figure 5: Our attack extracts images from Stable Diffu-
tions from memorized training examples, under two def-                      sion most often when they have been duplicated at least
initions of memorization—either (`2 , 0.15)-extraction or                   k = 100 times; although this should be taken as an upper
manual human inspection of generated images.                                bound because our methodology explicitly searches for
                                                                            memorization of duplicated images.

some arbitrary definition, we also manually annotate the
top-1000 generated images as either memorized or not                        most all small image corruptions (e.g., JPEG compres-
memorized by visual analysis, and find that a further 13                    sion, small brightness/contrast adjustments) but has very
(for a total of 109 images) are near-copies of training                     few false positives.
examples even if they do not fit our 2-norm definition.                        Figure 5 shows the results of this analysis. While we
Figure 3 shows a subset of the extracted images that are                    identify little Eidetic memorization for k < 100, this is
reproduced with near pixel-perfect accuracy; all images                     expected due to the fact we choose prompts of highly-
have an `2 difference under 0.05. (As a point of refer-                     duplicated images. Note that at this level of duplication,
ence, re-encoding a PNG as a JPEG with quality level 50                     the duplicated examples still make up just one in a mil-
results in an `2 difference of 0.02 on average.)                            lion training examples. These results show that duplica-
   Given our ordered set of annotated images, we can                        tion is a major factor behind training data extraction.
also compute a curve evaluating the number of extracted
images to the attack’s false positive rate. Our attack                      Qualitative analysis. The majority of the images that
is exceptionally precise: out of 175 million generated                      we extract (58%) are photographs with a recognizable
images, we can identify 50 memorized images with 0                          person as the primary subject; the remainder are mostly
false positives, and all our memorized images can be ex-                    either products for sale (17%), logos/posters (14%), or
tracted with a precision above 50%. Figure 4 contains the                   other art or graphics. We caution that if a future diffusion
precision-recall curve for both memorization definitions.                   model were trained on sensitive (e.g., medical) data, then
                                                                            the kinds of data that we extract would likely be drawn
Measuring (k, `, δ )-eidetic memorization. In Defini-                       from this sensitive data distribution.
tion 2 we introduced an adaptation of Eidetic memo-                            Despite the fact that these images are publicly acces-
rization [11] tailored to the domain of generative im-                      sible on the Internet, not all of them are permissively li-
age models. As mentioned earlier, we compute similar-                       censed. We find that a significant number of these im-
ity between pairs of images with a direct `2 pixel-space                    ages fall under an explicit non-permissive copyright no-
similarity. This analysis is computationally expensive3                     tice (35%). Many other images (61%) have no explicit
as it requires comparing each of our memorized images                       copyright notice but may fall under a general copyright
against each of the 160 million training examples. We                       protection for the website that hosts them (e.g., images
set δ = 0.1 as this threshold is sufficient to identify al-                 of products on a sales website). Several of the images
    3 In practice it is even more challenging: for non-square images,
                                                                            that we extracted are licensed CC BY-SA, which requires
Stable Diffusion takes a random square crop, and so to check if the
                                                                            “[to] give appropriate credit, provide a link to the li-
generated image x matches a non-square training image y we must try         cense, and indicate if changes were made.” Stable Dif-
all possible alignments between x on top of the image y.                    fusion thus memorizes numerous copyrighted and non-


                                                                        6
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permissive-licensed images, which the model may repro-                        use an influence-function-style approach to identify ex-
duce without the accompanying license.                                        amples that have a significant impact on the final model
                                                                              weights [25]. Unfortunately, given the cost of training
                                                                              even a single large diffusion model is in the millions-of-
4.3     Extracting Data from Imagen                                           dollars, this approach will not be feasible here.
                                                                                 Therefore we take a simpler approach. We first com-
While Stable Diffusion is the best publicly-available
                                                                              pute the CLIP embedding of each training example, and
diffusion model, there are non-public models that
                                                                              then compute the “outlierness” of each example as the
achieve stronger performance using larger models and
                                                                              average distance (in CLIP embedding space) to its 1,000
datasets [56, 60]. Prior work has found that larger mod-
                                                                              nearest neighbors in the training dataset.
els are more likely to memorize training data [11, 9] and
we thus study Imagen [60], a 2 billion parameter text-
to-image diffusion model. While individual details dif-                       Results. Surprisingly, we find that attacking out-of-
fer between Imagen’s and Stable Diffusion’s implemen-                         distribution images is much more effective for Imagen
tation and training scheme, these details are independent                     than it is for Stable Diffusion. On Imagen, we attempted
of our extraction results.                                                    extraction of the 500 images with the highest out-of-
   We follow the same procedure as earlier but focus                          distribution score. Imagen memorized and regurgitated
on the top-1000 most duplicated prompts for computa-                          3 of these images (which were unique in the training
tional reasons. We then generate 500 images for each                          dataset). In contrast, we failed to identify any memo-
of these prompts, and compute the `2 similarity between                       rization when applying the same methodology to Stable
each generated image and the corresponding training                           Diffusion—even after attempting to extract the 10,000
image. By repeating the same membership inference                             most-outlier samples. Thus, Imagen appears less pri-
steps as above—searching for cliques under patched `2                         vate than Stable Diffusion both on duplicated and non-
distance–we identify 23 of these 1,000 images as mem-                         duplicated images. We believe this is due to the fact that
orized training examples.4 This is significantly higher                       Imagen uses a model with a much higher capacity com-
than the rate of memorization in Stable Diffusion, and                        pared to Stable diffusion, which allows for more memo-
clearly demonstrates that memorization across diffusion                       rization [9]. Moreover, Imagen is trained for more iter-
models is highly dependent on training settings such as                       ations and on a smaller dataset, which can also result in
the model size, training time, and dataset size.                              higher memorization.


4.4     Extracting Outlier Examples                                           5     Investigating Memorization

The attacks presented above succeed, but only at extract-                     The above experiments are visually striking and clearly
ing images that are highly duplicated. This “high k”                          indicate that memorization is pervasive in large diffusion
memorization may be problematic, but as we mentioned                          models—and that data extraction is feasible. But these
previously, the most compelling practical attack would                        experiments do not explain why and how these models
be to demonstrate memorization in the “low k” regime.                         memorize training data. In this section we train smaller
   We now set out to achieve this goal. In order to find                      diffusion models and perform controlled experiments in
non-duplicated examples likely to be memorized, we                            order to more clearly understand memorization.
take advantage of the fact that while on average models
often respect the privacy of the majority of the dataset,                     Experimental setup. For the remainder of this sec-
there often exists a small set of “outlier” examples whose                    tion, we focus on diffusion models trained on CIFAR-10.
privacy is more significantly exposed [24]. And so in-                        We use state-of-the-art training code 5 to train 16 diffu-
stead of searching for memorization across all images,                        sion models, each on a randomly-partitioned half of the
we are more likely to succeed if we focus our effort on                       CIFAR-10 training dataset. We run three types of pri-
these outlier examples.                                                       vacy attacks: membership inference attacks, attribute in-
   But how should we find which images are poten-                                 5 We  either directly use OpenAI’s Improved Diffusion repos-
tially outliers? Prior work was able to train hundreds
                                                                              itory (https://github.com/openai/improved-diffusion) in
of models on subsets of the training dataset and then                         Section 5.1, or our own re-implementation in all following sections.
                                                                              Models trained with our re-implementation achieve almost identical
   4 Unfortunately, because the Imagen training dataset is not public,        FID to the open-sourced models. We use half the dataset as is stan-
we are unable to provide visual examples of successful reconstructions.       dard in privacy analyses [8].


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                                                                                    103




                                                                        Frequency
                                                                                    102

Figure 6: Direct 2-norm measurement fails to identify
memorized CIFAR-10 examples. Each of the above im-                                  101

ages have a `2 distance of less than 0.05, yet only one
(the car) is actually a memorized training example.                                 100
                                                                                      0.00 0.25 0.50 0.75 1.00 0.00 0.25 0.50 0.75 1.00
                                                                                         L2 distance between generated and training images

ference attacks, and data reconstruction attacks. For the
membership inference attacks, we train class-conditional            Figure 7: Per-image `2 thresholds are necessary to sep-
models that reach an FID below 3.5 (see Figure 11), plac-           arate memorized images from novel generations on a
ing them in the top-30 generative models on CIFAR-10                CIFAR-10 model. Each plot shows the distribution of `2
[16]. For reconstruction attacks (Section 5.1) and at-              distances from a generated image to all training images
tribute inference attacks with inpainting (Section 5.3),            (along with the image and the nearest training image).
we train unconditional models with an FID below 4.                  Left shows a typical distribution for a non-memorized
                                                                    image. Right shows a memorized image distribution;
                                                                    while the most similar training image has high absolute
5.1    Untargeted Extraction                                        `2 distance, it is abnormally low for this distribution. The
Before devling deeper into understanding memorization,              dashed black line shows our adaptive `2 threshold.
we begin by validating that memorization does still occur
in our smaller models. Because these models are not text
conditioned, we focus on untargeted extraction. Specif-             training image has an `2 distance of just 0.06, this dis-
ically, given our 16 diffusion models trained on CIFAR-             tance is on par with the distance to many other training
10, we unconditionally generate 216 images from each                images (i.e., all images that contain a blue sky). In con-
model for a total of 220 candidate images. Because we               trast, the right plot shows a successful extraction attack.
will later develop high-precision membership inference              Here, even though the `2 distance to the nearest train-
attacks, in this section we directly search for memorized           ing image is higher than for the prior failed attack (0.07),
training examples among all our million generated exam-             this value is unusually small compared to other training
ples. Thus this is not an attack per se, but rather verifying       images which almost all are at a distance above 0.2.
the capability of these models to memorize.                            We thus slightly modify our attack to use the distance
Identifying matches. In the prior section, we performed                                                            `2 (x̂, x)
targeted attacks and could therefore check for successful                                  `(x̂, x; Sx̂ ) =                           .
                                                                                                              α · Ey∈Sx̂ [`2 (x̂, y)]
memorization by simply computing the `2 distance be-
tween the target image and the generated image. Here,               where Sx̂ is the set containing the n closest elements from
as we perform an all-pairs comparison, we find that us-             the training dataset to the example x̂. This distance is
ing an uncalibrated `2 threshold fails to accurately iden-          small if the extracted image x is much closer to the train-
tify memorized training examples. For example, if we set            ing image x̂ compared to the n closest neighbors of x̂ in
a highly-restrictive threshold of 0.05, then nearly all “ex-        the training set. We run our attack with α = 0.5 and
tracted” images are of entirely blue skies or green land-           n = 50. Our attack was not sensitive to these choices.
scapes (see Figure 6). We explored several other met-
rics (including perceptual distances like SSIM or CLIP              Results.      Using the above methodology we iden-
embedding distance) but found that none could reliably              tify 1,280 unique extracted images from the CIFAR-10
identify memorized training images for CIFAR-10.                    dataset (2.5% of the entire dataset).6 In Figure 8 we show
   We instead define an image as extracted if the `2 dis-           a selection of training examples that we extract and full
tance to its nearest neighbor in the training set is abnor-         results are shown in Figure 17 in the Appendix.
mally low compared to all other training images. Fig-
                                                                        6 Some CIFAR-10 training images are generated multiple times. In
ure 7 illustrates this by computing the `2 distance be-
                                                                    these cases, we only count the first generation as a successful attack.
tween two different generated images and every image                Further, because the CIFAR-10 training dataset contains many dupli-
in the CIFAR-10 training dataset. The left figure shows a           cate images, we do not count two generations of two different (but du-
failed extraction attempt; despite the fact that the nearest        plicated) images in the training dataset.


                                                                8
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Figure 8: Selected training examples that we extract from a diffusion model trained on CIFAR-10 by sampling from
the model 1 million times. Top row: generated output from a diffusion model. Bottom row: nearest (`2 ) example
from the training dataset. Figure 17 in the Appendix contains all 1,280 unique extracted images.


5.2    Membership Inference Attacks                                       function is one of the most important components of the
                                                                          attack. We find that this effect is even more pronounced
We now evaluate membership inference with more tra-                       for diffusion models. In particular, unlike classifiers that
ditional attack techniques that use white-box access, as                  have a single loss function (e.g., cross entropy) used to
opposed to Section 4.2.1 that assumed black-box access.                   train the model, diffusion models are trained to minimize
We will show that all examples have significant privacy                   the reconstruction loss when a random quantity of Gaus-
leakage under membership inference attacks, compared                      sian noise ε has been added to an image. This means that
to the small fraction that are sensitive to data extraction.              “the loss” of an image is not well defined—instead, we
We consider two membership inference attacks on our                       can only ask for the loss L (x,t, ε) of an image x for a
class-conditional CIFAR-10-trained diffusion models.7                     certain timestep t with a corresponding amount of noise
The loss threshold attack. Yeom et al. [80] introduce                     ε (cf. Equation (1)).
the simplest membership inference attack: because mod-                       We must thus compute the optimal timestep t at which
els are trained to minimize their loss on the training set,               we should measure the loss. To do so, we train 16
we should expect that training examples have lower loss                   shadow models each on a random 50% of the CIFAR-
than non-training examples. The loss threshold attack                     10 training dataset. We then compute the loss for every
thus computes the loss l = L (x; f ) and reports “mem-                    model, for every example in the training dataset, and ev-
ber” if l < τ for some chosen threshold τ and otherwise                   ery timestep t ∈ [1, T ] (T = 1,000 in the models we use).
“non-member’. The value of τ can be selected to max-                         Figure 9 plots the timestep used to compute the loss
imize a desired metric (e.g., true positive rate at some                  against the attack success rate, measured as the true pos-
fixed false positive rate or the overall attack accuracy).                itive rate (TPR), i.e., the number of examples which truly
                                                                          are members over the total number of members, at a fixed
The Likelihood Ratio Attack (LiRA). Carlini et al.                        false positive rate (FPR) of 1%, i.e., the fraction of exam-
[8] introduce the state-of-the-art approach to performing                 ples which are incorrectly identified as members. Eval-
membership inference attacks. LiRA first trains a col-                    uating L at t ∈ [50, 300] leads to the most successful
lection of shadow models, each model on random sub-                       attacks. We conjecture that this a “Goldilock’s zone” for
sets of the training dataset. LiRA then computes the loss                 membership inference: if t is too small, and so the noisy
L (x; fi ) for the example x under each of these shadow                   image is similar to the original, then predicting the added
models fi . These losses are split into two sets: the losses              noise is easy regardless if the input was in the training
IN = {l ini } for the example x under the shadow models                   set; if t is too large, and so the noisy image is similar to
{ fi } that did see the example x during training, and the                Gaussian noise, then the task is too difficult. Our remain-
losses OUT = {l outi } for the example x under the shadow                 ing experiments will evaluate L (·,t, ·) at t = 100, where
models { f j } that did not see the example x during train-               we observed a TPR of 71% at an FPR of 1%.
ing. LiRA finishes the initialization process by fitting
Gaussians NIN to the IN set and NOUT to OUT set of
losses. Finally, to predict membership inference for a                    5.2.1   Baseline Attack Results
new model f ∗ , we compute l ∗ = L (x, f ∗ ) and then mea-                We now evaluate membership inference using our speci-
sure whether Pr[l ∗ |NIN ] > Pr[l ∗ |NOUT ].                              fied loss function. We follow recent advice [8] and evalu-
Choosing a loss function. Both membership inference                       ate the efficacy of membership inference attacks by com-
attacks use a loss function L . In the case of classifica-                paring their true positive rate to the false positive rate
tion models, Carlini et al. [8] find that choosing a loss                 on a log-log scale. In Figure 10, we plot the member-
                                                                          ship inference ROC curve for the loss threshold attack
  7 Appendix C.4 replicates these results for unconditional models.       and LiRA. An out-of-the-box implementation of LiRA


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               0.7                                                                          100
               0.6




                                                                      True positive rate
               0.5                                                                         10 1
  TPR@FPR=1%


               0.4
               0.3
                                                                                           10 2               Strong LiRA. AUC: 0.997
               0.2
               0.1                                                                                            LiRA. AUC: 0.982
                                                                                                              Threshold. AUC: 0.613
               0.0                                                                         10 3 3
                     1   200      400 600 800       1000                                      10         10 2          10 1         100
                               Diffusion timestep                                                        False positive rate
Figure 9: We run membership inference using LiRA                    Figure 10: Membership inference ROC curve for a diffu-
and compute the diffusion model loss at different noise             sion model trained on CIFAR-10 using the loss threshold
timesteps on CIFAR-10. Evaluating L (·,t, ·) at t ∈                 attack, baseline LiRA, and “Strong LiRA” with repeated
[50, 300] produces the best results.                                queries and augmentation (§5.2.2).


achieves a true positive rate of over 70% at a false posi-             By varying the number of point samples taken to es-
tive rate of just 1%. As a point of reference, state-of-the-        timate this expectation we can potentially increase the
art classifiers are much more private, e.g., with a < 20%           attack success rate. And second, because our diffusion
TPR at 1% FPR [8]. This shows that diffusion models                 models train on augmented versions of training images
are significantly less private than classifiers trained on          (e.g., by flipping images horizontally), it makes sense
the same data. (In part this may be because diffusion               to compute the loss averaged over all possible augmen-
models are often trained far longer than classifiers.)              tations. Prior work has found that both of these attack
                                                                    strategies are effective at increasing the efficacy of mem-
Qualitative analysis. In Figure 20, we visualize the                bership inference attacks for classifiers [8, 39], and we
least- and most-private images as determined by their               find they are effective here as well.
easiness to detect via LiRA. We find that the easiest-
to-attack examples are all extremely out-of-distribution            Improved attack results. Figure 10 shows the effect
visually from the CIFAR-10 dataset. These images are                of combining both these strategies. Together they are re-
even more visually out-of-distribution compared to the              markably successful, and at a false positive rate of 0.1%
outliers identified by Feldman et al. [24] who produce a            they increase the true positive rate by over a factor of
similar set of images but for image classifiers. In con-            six from 7% to 44%. Figure 19 in the Appendix breaks
trast, the images that are hardest to attack are all dupli-         down the impact of each component: in Figure 19a we
cated images. It is challenging to detect the presence or           increase the number of Monte Carlo samples from 1 (the
absence of each of these images in the training dataset             base LiRA attack) to 20, and in Figure 19b we augment
because there is another identical image in the training            samples with a horizontal flip.
dataset that may have been present or absent—therefore
making the membership inference question ill-defined.
                                                                    5.2.3                   Memorization Versus Utility

5.2.2           Augmentations Improve Attacks                       We train our diffusion models to reach state-of-the-art
                                                                    levels of performance. Prior work on language mod-
Membership inference attacks can also be improved by                els has found that better models are often easier to at-
reducing the variance in the loss signal [8, 79]. We                tack than less accurate models—intuitively, because they
study two ways to achieve this for diffusion models.                extract more information from the same training dataset
First, because our loss function has randomness (re-                [9]. Here we perform a similar experiment.
call that to compute the reconstruction loss we mea-
sure the quantity L (x,t, ε) for a random noise sam-                Attack results vs. FID. To evaluate our generative
ple ε ∼ N (0, I)), we can compute a better estimate of              models, we use the standard Fréchet Inception Distance
the true loss by averaging over different noise samples:            (FID) [32], where lower scores indicate higher qual-
L (x,t) = Eε∼N (0,I) [L (x,t, ε)].                                  ity. Our previous CIFAR-10 results used models that


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                                                1e6




                                                                            2 distance when x is in training
             1.0                                      3.0                                                                  Cat example
                                                                                                               0.30        Bird example
             0.8                                      2.5                                                                  100 other samples
                                                                                                               0.25
TPR@FPR=1%




                                                         Update step
             0.6                                      2.0                                                      0.20
                                                      1.5
             0.4                                                                                               0.15
                                                      1.0
             0.2                                                                                               0.10
                                                      0.5
                                                                                                               0.05
                   4        6             8                                                                        0.05 0.10 0.15 0.20 0.25 0.30
                            FID                                                                                         2 distance when x isn't in training

Figure 11: Better diffusion models are more vulnerable                      Figure 12: Evaluating inpainting attacks on 100 CIFAR-
to membership inference attacks; evaluating with TPR                        10 examples, measuring the `2 distance between images
at an FPR of 1%. As the FID decreases (corresponding                        and their inpainted reconstructions when we mask out
to a quality increase) the membership inference attack                      the left half of the image for 100 randomly selected im-
success rate grows from 7% to nearly 100%.                                  ages. We also plot the `2 distances for the bird and cat
                                                                            examples shown in Figure 13. When an adversary has
                                                                            partial knowledge of an image, inpainting attacks work
achieved the best FID (on average 3.5) based on early                       far better than typical data extraction.
stopping. Here we evaluate models over the course of
training in Figure 11. We compute the attack success
rate as a function of FID, and we find that as the quality
                                                                            diffusion model’s loss on this sample (at timestep 100)
of the diffusion model increases so too does the privacy
                                                                            divided by a shadow model’s loss that was not trained
leakage. These results are concerning because they sug-
                                                                            on the sample. We then use this score to identify the
gest that stronger diffusion models of the future may be
                                                                            highest-scoring reconstructions xrec ∈ Xrec .
even less private.


5.3            Inpainting Attacks
                                                                            Results. Our specific attack masks out the left half of
Having performed untargeted extraction on CIFAR-10                          an image and applies the diffusion model on the right
models, we now construct a targeted version of our at-                      half of the image to inpaint the rest. We repeat this pro-
tack. As mentioned earlier, performing a targeted at-                       cess 5000 times and take the top-10 scoring reconstruc-
tack is complicated by the fact that these models do not                    tions using a membership inference attack. We repeat
support textual prompting. We instead provide guid-                         this attack for 100 images using diffusion models that
ance by performing a form of attribute inference attack                     are trained with and without the images. Figure 12 com-
[38, 80, 81] that we call an “inpainting attack”. Given                     pares the average distance between the sample and the
an image, we first mask out a portion of this image; our                    ten highest scoring inpainted samples. This allows us
attack objective is to recover the masked region. We then                   to show our inpainting attacks have succeed: the recon-
run this attack on both training and testing images, and                    struction loss is substantially better in terms of `2 dis-
compare the attack efficacy on each. Specifically, for                      tance when the image is in the training set than when not.
an image x, we mask some fraction of pixels to create                       Figure 13 also shows qualitative examples of this attack.
a masked image xm , and then use the trained model to re-                   The highest-scoring reconstruction looks visually similar
construct the image as xrec . The exact algorithm we use                    to the target image when the target is in training and does
for inpainting is given in Lugmayr et al. [48].                             not resemble the target when it is not in training. Over-
   Because diffusion model inpainting is stochastic (it de-                 all, these results show that an adversary who has partial
pends on the random sample ε ∼ N (0, I)), we create a                       knowledge of an image can substantially improve their
                                   1 , x2 , . . . , xn }, where
set of inpainted images Xrec = {xrec                                        extraction results. We conduct a more thorough analysis
                                        rec          rec
we set n = 5,000. For each xrec ∈ Xrec , we compute the                     of inpainting attacks in Appendix D.


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                                    Reconstruction when x   Reconstruction when x
     Target: x        Masked: xm        is in training.       is not in training.            Architecture                  Images Extracted   FID
                                                                                                      StyleGAN-ADA [43]                 150    2.9
                                                                                                      DiffBigGAN [82]                    57    4.6
                                                                                           GANs       E2GAN [69]                         95   11.3
                                    Reconstruction when x   Reconstruction when x                     NDA [63]                           70   12.6
     Target: x        Masked: xm        is in training.       is not in training.
                                                                                                      WGAN-ALP [68]                      49   13.0
                                                                                                      OpenAI-DDPM [52]                  301    2.9
                                                                                           DDPMs
                                                                                                      DDPM [33]                         232    3.2

Figure 13: Inpainting-based reconstruction attack on                                     Table 1: The number of training images that we extract
CIFAR-10. Given an image from CIFAR-10 (first col-                                       from different off-the-shelf pretrained generative mod-
umn), we randomly mask half of the image (second col-                                    els out of 1 million unconditional generations. We show
umn), and then inpaint the image for a model which con-                                  GAN models sorted by FID (lower is better) on the top
tained this image in the training set (third column) versus                              and diffusion models on the bottom. Overall, we find
inpainting the image for a model which did not contain                                   that diffusion models memorize more than GAN models.
this image in the training set (fourth column).                                          Moreover, better generative models (lower FID) tend to
                                                                                         memorize more data.

6    Comparing Diffusion Models to GANs
                                                                                         we use the discriminator’s loss as the metric. To per-
Are diffusion models more or less private than compet-                                   form LiRA, we follow a similar methodology as Sec-
ing generative modeling approaches? In this section we                                   tion 5 and train 256 individual GAN models each on a
take a first look at this question by comparing diffu-                                   random 50% split of the CIFAR-10 training dataset but
sion models to Generative Adversarial Networks (GANs)                                    otherwise leave training hyperparameters unchanged.
[30, 61, 55], an approach that has held the state-of-the-art                                We study three GAN architectures, all implemented
results for image generation for nearly a decade.                                        using the StudioGAN framework [42]: BigGAN [6],
   Unlike diffusion models that are explicitly trained to                                MHGAN [74], and StyleGAN [44]. Figure 14 shows the
memorize and reconstruct their training datasets, GANs                                   membership inference results. Overall, diffusion models
are not. Instead, GANs consist of two competing neu-                                     have higher membership inference leakage, e.g., diffu-
ral networks: a generator and a discriminator. Similar to                                sion models had 50% TPR at a FPR of 0.1% as compared
diffusion models, the generator receives random noise as                                 to < 30% TPR for GANs. This suggests that diffusion
input, but unlike a diffusion model, it must convert this                                models are less private than GANs for membership in-
noise to a valid image in a single forward pass. To train                                ference attacks under default training settings, even when
a GAN, the discriminator is trained to predict if an im-                                 the GAN attack is strengthened due to having access to
age comes from the generator or not, and the generator                                   the discriminator (which would be unlikely in practice,
is trained to fool the discriminator. As a result, GANs                                  as only the generator is necessary to create new images).
differ from diffusion models in that their generators are
only trained using indirect information about the train-                                 Data extraction results. We next turn our attention
ing data (i.e., using gradients from the discriminator) be-                              away from measuring worst-case privacy risk and focus
cause they never receive training data as input, whereas                                 our attention on more practical black-box extraction at-
diffusion models are explicitly trained to reconstruct the                               tacks. We follow the same procedure as Section 5.1,
training set.                                                                            where we generate 220 images from each model architec-
                                                                                         ture and identify those that are near-copies of the training
                                                                                         data using the same similarity function as before. Again
Membership inference attacks. We first propose a                                         we only consider non-duplicated CIFAR-10 training im-
privacy attack methodology for GANs.8 We initially fo-                                   ages in our counting. For this experiment, instead of us-
cus on membership inference attacks, where following                                     ing models we train ourselves (something that was neces-
Balle et al. [5], we assume access to both the discrimi-                                 sary to run LiRA), we study five off-the-shelf pre-trained
nator and generator. We perform membership inference                                     GANs: WGAN-ALP [68], E2GAN [69], NDA [63],
using the loss threshold [80] and LiRA [8] attacks, where                                DiffBigGAN [82], and StyleGAN-ADA [43]. We also
    8 While existing privacy attacks exist for GANs, they were proposed                  evaluate two off-the-shelf DDPM diffusion model re-
before the latest advancements in privacy attack techniques, requiring                   leased by Ho et al. [33] and Nichol et al. [52]. Note that
us to develop our own methods which out-perform prior work.                              all of these pre-trained models are trained by the origi-


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                             100                                                                    100                                                                    100


                            10−1                                                                   10−1                                                                   10−1

       True Positive Rate




                                                                              True Positive Rate




                                                                                                                                                     True Positive Rate
                            10−2                                                                   10−2                                                                   10−2


                            10−3                                                                   10−3                                                                   10−3

                                      LiRA                                                                   LiRA                                                                           LiRA
                            10−4      auc=0.891, TPR@FPR=0.001: 0.109                              10−4      auc=0.971, TPR@FPR=0.001: 0.258                              10−4              auc=0.989, TPR@FPR=0.001: 0.418
                                      Global threshold                                                       Global threshold                                                               Global threshold
                                      auc=0.878, TPR@FPR=0.001: 0.021                                        auc=0.511, TPR@FPR=0.001: 0.001                                                auc=0.967, TPR@FPR=0.001: 0.003
                            10−5                                                                   10−5                                                                   10−5
                               10−5   10−4     10−3      10−2    10−1   100                           10−5   10−4     10−3      10−2    10−1   100                           10−5   10−4     10−3      10−2    10−1       100
                                             False Positive Rate                                                    False Positive Rate                                                    False Positive Rate


                              (a) StyleGAN FID avg = 3.7                                             (b) MHGAN FID avg = 7.9                                                 (c) BigGAN FID avg = 7.7

Figure 14: Membership inference results on GAN models using the loss threshold and LiRA attacks on the discrimi-
nator. Overall, GANs are significantly more private than diffusion models under default training configurations.




                                                                                                              (a) StyleGAN




                                                                                                               (b) MHGAN




                                                                                                                (c) BigGAN

Figure 15: Selected training examples we extract from three GANs trained on CIFAR-10 for different architectures.
Top row: generated output from a diffusion model. Bottom row: nearest (`2 ) example from the training dataset.
Figure 25 in the Appendix contains all unique extracted images.


nal authors to maximize utility on the entire CIFAR-10                                                                        those models. The Appendix also contains near-copy
dataset rather than a random 50% split as in our prior                                                                        generations from the five off-the-shelf GANs. Overall,
models trained for MIA.                                                                                                       these results further reinforce the conclusion that diffu-
   Table 1 shows the number of extracted images for each                                                                      sion models are less private than GAN models.
model and their corresponding FID. Overall, we find
that diffusion models memorize more data than GANs,                                                                              We also surprisingly find that diffusion models and
even when the GANs reach similar performance, e.g., the                                                                       GANs memorize many of the same images. In particular,
best DDPM model memorizes 2× more than StyleGAN-                                                                              despite the fact that our diffusion model memorizes 1280
ADA but reaches the same FID. Moreover, generative                                                                            images and a StyleGAN model we train on half of the
models (both GANs and diffusion models) tend to mem-                                                                          dataset memorizes 361 images, we find that 244 unique
orize more data as their quality (FID) improves, e.g.,                                                                        images are memorized in common. If images were mem-
StyleGAN-ADA memorizes 3× more images than the                                                                                orized uniformly at random, we should expect on average
weakest GANs.                                                                                                                 10 images would be memorized by both, giving excep-
   Using the GANs we trained ourselves, we show ex-                                                                           tionally strong evidence that some images (p < 10−261 )
amples of the near-copy generations in Figure 15 for the                                                                      are inherently less private than others. Understanding
three GANs that we trained ourselves, and Figure 24 in                                                                        why this phenomenon occurs is a fruitful direction for
the Appendix shows every sample that we extract for                                                                           future work.


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7     Defenses and Recommendations                                                          10




                                                                         Maximum Exposure
Given the degree to which diffusion models memorize                                         8
and regenerate training examples, in this section we ex-
plore various defenses and practical strategies that may                                    6                         Random
help to reduce and audit model memorization.
                                                                                            4
7.1    Deduplicating Training Data
                                                                                            2
In Section 4.2, we showed that many examples that are                                            1   2 3 4   8   16     32   64
easy to extract are duplicated many times (e.g., > 100)                                               Duplicate Count
in the training data. Similar results have been shown for          Figure 16: Canary exposure (a measure of non-privacy)
language models for text [11, 40] and data deduplica-              as a function of duplicate count. Inserting a canary twice
tion has been shown to be an effective mitigation against          is sufficient to reach maximum exposure.
memorization for those models [47, 41]. In the image
domain, simple deduplication is common, where images
with identical URLs and captions are removed, but most             DP-SGD can be applied to small-scale diffusion models
datasets do not compute other inter-image similarity met-          without substantial performance degradation [19].
rics such as `2 distance or CLIP similarity. We thus en-              Unfortunately, we applied DP-SGD to our diffusion
courage practitioners to deduplicate future datasets using         model codebase and found that it caused the training on
these more advanced notions of duplication.                        CIFAR-10 to consistently diverge, even at high values for
   Unfortunately, deduplication is not a perfect solution.         ε (the privacy budget, around 50). In fact, even applying
To better understand the effectiveness of data deduplica-          a non-trivial gradient clipping or noising on their own
tion, we deduplicate CIFAR-10 and re-train a diffusion             (both are required in DP-SGD) caused the training to fail.
model on this modified dataset. We compute image sim-              We leave a further investigation of these failures to future
ilarity using the imagededup tool and deduplicate any              work, and we believe that new advances in DP-SGD and
images that have a similarity above > 0.85. This re-               privacy-preserving training techniques may be required
moves 5,275 examples from the 50,000 total examples                to train diffusion models in privacy-sensitive settings.
in CIFAR-10. We repeat the same generation procedure
as Section 5.1, where we generate 220 images from the              7.3        Auditing with Canaries
model and count how many examples are regenerated
from the training set. The model trained on the dedu-              In addition to implementing defenses, it is important
plicated data regenerates 986 examples, as compared to             for practitioners to empirically audit their models to de-
1280 for the original model. While not a substantial               termine how vulnerable they are in practice [36]. Our
drop, these results show that deduplication can mitigate           attacks above represent one method to evaluate model
memorization. Moreover, we also expect that deduplica-             privacy. Nevertheless, our attacks are expensive, e.g.,
tion will be much more effective for models trained on             our membership inference results require training many
larger-scale datasets (e.g., Stable Diffusion), as we ob-          shadow models, and thus lighter weight alternatives may
served a much stronger correlation between data extrac-            be desired.
tion and duplication rates for those models.                          One such alternative is to insert canary examples into
                                                                   the training set, a common approach to evaluate mem-
                                                                   orization in language models [10]. Here, one creates a
7.2    Differentially-Private Training
                                                                   large “pool” of canaries, e.g., by randomly generating
The gold standard technique to defend against privacy              noise images, and inserts a subset of the canaries into
attacks is by training with differential privacy (DP) guar-        the training set. After training, one computes the expo-
antees [21, 22]. Diffusion models can be trained with              sure of the canaries, which roughly measures how many
differentially-private stochastic gradient descent (DP-            bits were learned about the inserted canaries as compared
SGD) [1], where the model’s gradients are clipped and              to the larger pool of not inserted canaries. This loss-
noised to prevent the model from leaking substantial in-           based metric only requires training one model and can
formation about the presence of any individual image in            also be designed in a worst-case way (e.g., adversarial
the dataset. Applying DP-SGD induces a trade-off be-               worst-case images could be used).
tween privacy and utility, and recent work shows that                 To evaluate exposure for diffusion models, we gen-


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erate canaries consisting of uniformly generated noise.           9   Discussion and Conclusion
We then duplicate the canaries in the training set at dif-
ferent rates and measure the maximum exposure. Fig-               State-of-the-art diffusion models memorize and regen-
ure 16 shows the results. Here, the maximum exposure              erate individual training images, allowing adversaries
is 10, and some canaries reach this exposure after being          to launch training data extraction attacks. By training
inserted only twice. The exposure is not strictly increas-        our own models we find that increasing utility can de-
ing with duplicate count, which may be a result of some           grade privacy, and simple defenses such as deduplication
canaries being “harder” than others, and, ultimately, ran-        are insufficient to completely address the memorization
dom canaries we generate may not be the most effective            challenge. We see that state-of-the-art diffusion models
canaries to use to test memorization for diffusion models.        memorize 2× more than comparable GANs, and more
                                                                  useful diffusion models memorize more than weaker dif-
                                                                  fusion models. This suggests that the vulnerability of
8   Related Work                                                  generative image models may grow over time. Going
                                                                  forward, our work raises questions around the memoriza-
Memorization in language models. Numerous past                    tion and generalization capabilities of diffusion models.
works study memorization in generative models across
different domains, architectures, and threat models. One          Questions of generalization. Do large-scale models
area of recent interest is memorization in language mod-          work by generating novel output, or do they just copy
els for text, where past work shows that adversaries can          and interpolate between individual training examples?
extract training samples using two-step attack techniques         If our extraction attacks had failed, it may have refuted
that resemble our approach [11, 47, 41, 40]. Our work             the hypothesis that models copy and interpolate training
differs from these past results because we focus on the           data; but because our attacks succeed, this question re-
image domain and also use more semantic notions of                mains open. Given that different models memorize vary-
data regeneration (e.g., using CLIP scores) as opposed            ing amounts of data, we hope future work will explore
to focusing on exact verbatim repetition (although recent         how diffusion models copy from their training datasets.
language modeling work has begun to explore approxi-                 Our work also highlights the difficulty in defining
mate memorization as well [35]).                                  memorization. While we have found extensive mem-
                                                                  orization with a simple `2 -based measurement, a more
Memorization in image generation. Aside from lan-                 comprehensive analysis will be necessary to accurately
guage modeling, past work also analyzes memorization              capture more nuanced definitions of memorization that
in image generation, mainly from the perspective of gen-          allow for more human-aligned notions of data copying.
eralization in GANs (i.e., the novelty of model gener-
ations). For instance, numerous metrics exist to mea-             Practical consequences. We raise four practical con-
sure similarity with the training data [32, 3], the extent        sequences for those who train and deploy diffusion mod-
of mode collapse [61, 15], and the impact of individual           els. First, while not a perfect defense, we recom-
training samples [4, 75]. Moreover, other work provides           mend deduplicating training datasets and minimizing
insights into when and why GANs may replicate train-              over-training. Second, we suggest using our attack—or
ing examples [50, 26], as well as how to mitigate such            other auditing techniques—to estimate the privacy risk of
effects [50]. Our work extends these lines of inquiry to          trained models. Third, once practical privacy-preserving
conditional diffusion models, where we measure novelty            techniques become possible, we recommend their use
by computing how frequently models regenerate training            whenever possible. Finally, we hope our work will tem-
instances when provided with textual prompts.                     per the heuristic privacy expectations that have come to
   Recent and concurrent work also studies privacy in im-         be associated with diffusion model outputs: synthetic
age generation for both GANs [70] and diffusion mod-              data does not give privacy for free [13, 14, 59, 2, 53].
els [65, 78, 34]. Tinsley et al. [70] show that StyleGAN              On the whole, our work contributes to a growing body
can generate individuals’ faces, and Somepalli et al. [65]        of literature that raises questions regarding the legal, eth-
show that Stable Diffusion can output semantically sim-           ical, and privacy issues that arise from training on web-
ilar images to its training set. Compared to these works,         scraped public data [7, 65, 72, 77]. Researchers and prac-
we identify privacy vulnerabilities in a wider range of           titioners should be wary of training on uncurated public
systems (e.g., Imagen and CIFAR models) and threat                data without first taking steps to understand the underly-
models (e.g., membership inference attacks).                      ing ethics and privacy implications.


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                                                    NC      MN       JH   MJ    FT    VS    BB    DI    EW
        Conceived Project                            X               X                 X                 X
        Formalized Memorization Definition           X          X    X     X     X           X
        Experimented with Stable Diffusion           X          X
        Experimented with Imagen                                X
        Experimented with CIFAR-10 Diffusion         X               X
        Experimented with GANs                                  X                X     X
        Experimented with Defenses                   X          X          X
        Prepared Figures                             X          X    X     X           X           X     X
        Analyzed Data                                X          X    X     X     X     X
        Wrote Paper                                  X          X    X     X     X     X     X     X     X
        Managed the Project                          X

                                Table 2: Contributions of each author in the paper.


Contributions                                                   Acknowledgements and Conflicts of Interest
  • Nicholas, Jamie, Vikash, and Eric each indepen-             The authors are grateful to Tom Goldstein, Olivia
    dently proposed the problem statement of extracting         Wiles, Katherine Lee, Austin Tarango, Ian Wilbur, Jeff
    training data from diffusion models.                        Dean, Andreas Terzis, Robin Rombach, and Andreas
  • Nicholas, Eric, and Florian performed preliminary           Blattmann for comments on early drafts of this paper.
    experiments to identify cases of data extraction in            Nicholas, Milad, Matthew, and Daphne are employed
    diffusion models.                                           at Google, and Jamie and Borja are employed at Deep-
                                                                Mind, companies that both train large machine learning
  • Milad performed most of the experiments on Stable           models (including diffusion models) on both public and
    Diffusion and Imagen, and Nicholas counted dupli-           private datasets.
    cates in the LAION training dataset; each wrote the            Eric Wallace is supported by the Apple Scholars in
    corresponding sections of the paper.                        AI/ML Fellowship.
  • Jamie performed the membership inference attacks
    and inpainting attacks on CIFAR-10 diffusion mod-
    els, and Nicholas performed the diffusion extraction
                                                                References
    experiments; each wrote the corresponding sections
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    of the paper.
                                                                     dan McMahan, Ilya Mironov, Kunal Talwar, and
  • Matthew ran experiments for canary memorization                  Li Zhang. Deep learning with differential privacy.
    and wrote the corresponding section of the paper.                In ACM CCS, 2016.
  • Florian and Vikash performed preliminary experi-             [2] Hazrat Ali, Shafaq Murad, and Zubair Shah. Spot
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    Vikash ran the experiments included in the paper.                ages using neural diffusion models. arXiv preprint
  • Milad ran the membership inference experiments on                arXiv:2211.00902, 2022.
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  • Daphne, Borja, and Eric edited the paper and con-                and Soheil Feizi. Entropic GANs meet VAEs: A
    tributed to paper framing.                                       statistical approach to compute sample likelihoods
  • Nicholas organized the project and wrote the initial             in GANs. In International Conference on Machine
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A     Collected Details for Figures

                        Table 3: Catalog of figures containing qualitative examples.

    Figure #    Model                            Dataset        Who trained it?          Sampling strategy
    Figure 1    Stable Diffusion                 LAION          Stability AI             PLMS
    Figure 2    Stable Diffusion                 LAION          Stability AI             PLMS
    Figure 3    Stable Diffusion                 LAION          Stability AI             PLMS
    Figure 6    Uncond Diffusion                 CIFAR-10       Ours                     DDIM
    Figure 7    Uncond Diffusion                 CIFAR-10       Ours                     DDIM
    Figure 8    Uncond Diffusion                 CIFAR-10       Ours                     DDIM
    Figure 12   Uncond Diffusion                 CIFAR-10       Ours                     Inpainting
    Figure 13   Uncond Diffusion                 CIFAR-10       Ours                     Inpainting
    Figure 15   StyleGAN, MHGAN, BigGAN          CIFAR-10       Ours                     GAN default
    Figure 17   Uncond Diffusion                 CIFAR-10       Ours                     DDIM
    Figure 20   Uncond Diffusion                 CIFAR-10       Ours                     DDIM
    Figure 22   Uncond Diffusion                 CIFAR-10       Ours                     Inpainting
    Figure 23   Uncond Diffusion                 CIFAR-10       Ours                     Inpainting
    Figure 24   Several different GANs           CIFAR-10       Original paper authors   GAN default




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B   All CIFAR-10 Memorized Images




Figure 17: All 1280 images we extract from diffusion models trained on CIFAR-10, after 1 million generations from
16 diffusion models.



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C     Additional Attacks on CIFAR-10
Here, we expand on our investigation of memorization of training data on CIFAR-10.

C.1       Membership Inference at Different Training Steps

                    1.0                                                         1.0                                                               100
                    0.8                                                         0.8




                                                                                                                            True positive rate
       TPR@FPR=1%




                                                                   TPR@FPR=1%
                                                                                                                                                 10 1            Data seen: 5M
                    0.6                                                         0.6                                                                              AUC: 0.742
                                                                                                                                                                 TPR@FPR=1%: 0.050
                    0.4                                                         0.4
                                                                                                                                                 10 2            Data seen: 102M
                    0.2                                                         0.2                                                                              AUC: 0.997
                                                                                                                                                                 TPR@FPR=1%: 0.989
                                                                                                                                                 10 3 3
                              1000      2000      3000      4000                      0.2     0.4     0.6      0.8   1.0                            10    10 2          10 1     100
                          Each train example processed X times                              Training data seen        1e8                                 False positive rate

         (a) How membership attack success                           (b) How membership attack success                              (c) ROC curve for the membership
           changes as a training example is                           changes as more data is processed                              attack for different training steps.
           processed repeatedly throughout                                  throughout training.
                       training.

                    Figure 18: Membership inference attacks as a function of the amount of training data processed on
                                                              CIFAR-10.

   In Section 5.2.3, we implicitly investigated membership attack success as a function of the number update steps
when training a diffusion model. We explicitly model this relationship in Figure 18. First, in Figure 18a we plot
membership attack success as a function of the number of times that an example was processed over training. If
an example is processed more than 2000 times during training, invariably membership attacks are perfect against that
example. Second, in Figure 18b, we plot membership attack success as a function of the total amount of data processed
during training. Unsurprisingly, membership attack success increases as more training data is processed. This is
highlighted in Figure 18c, where we plot the membership attack ROC curve. At 5M training examples processed,
at a FPR of 1% the TPR is 5%, and increases to 99% after 102M examples are processed. Note that this number of
processed training inputs is commonly used in diffusion model training. For example, the OpenAI CIFAR-10 diffusion
model 9 is trained for 500,000 steps at a batch size of 128, meaning 64M training examples are processed. Even at this
number of processed training examples, our membership attack has a TPR > 95% at a FPR of 1%.




    9 https://github.com/openai/improved-diffusion




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C.2        Membership Inference with Different Augmentation Strategies


                            100                                                         100
                                         n: 1 AUC: 0.982
                                         TPR@FPR=0.1%: 0.071                                         w/o Aug
      True positive rate




                                                                  True positive rate
                           10 1          n: 2 AUC: 0.991                               10 1          n: 20
                                         TPR@FPR=0.1%: 0.128                                         AUC: 0.997
                                         n: 5 AUC: 0.995                                             TPR@FPR=0.1%: 0.294
                                         TPR@FPR=0.1%: 0.210                                         w/ Aug
                           10 2          n: 10 AUC: 0.996                              10 2          n: 20
                                         TPR@FPR=0.1%: 0.260                                         AUC: 0.997
                                         n: 20 AUC: 0.997                                            TPR@FPR=0.1%: 0.437
                                         TPR@FPR=0.1%: 0.294
                           10 3 3                                                      10 3 3
                              10    10 2          10 1     100                            10    10 2          10 1     100
                                    False positive rate                                         False positive rate
                                        (a)                                                         (b)
Figure 19: We can improve membership inference attack success rates on CIFAR-10 by reducing noise. In (a),
membership inference attacks are improved by averaging the loss over multiple noise samples in the diffusion process.
In (b), attacks are improved by querying on augmented versions of the candidate image.




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C.3    Membership Inference Inliers and Outliers




Figure 20: When performing our membership inference attack, the hardest-to-attack examples (left) are all duplicates
in the CIFAR-10 training set, and the easiest-to-attack examples (right) are visually outliers from CIFAR-10 images.




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C.4    Membership Inference on Conditional and Unconditional Models
Diffusion models can be conditioned on labels (or prompts for text-to-image models). We compare the difference
in membership inference on a CIFAR-10 diffusion model trained unconditionally with a model conditionally trained
on CIFAR-10 labels. The conditional and unconditional models reach approximately the same FID after training;
between 3.5-4.2 FID. We plot the membership attack ROC curve in Figure 21 and note that the conditional model
is marginally more vulnerable. However, it is difficult to tell if this is a fundamental difference between conditional
and unconditional models, or because the conditional model contains more parameters than unconditional model (the
conditional models contains an extra embedding layer for the one-hot label input).

                             True positive rate    100


                                                  10 1
                                                                    Unconditional.
                                                                    AUC: 0.970
                                                                    TPR@FPR=1%: 0.549
                                                  10 2
                                                                    Conditional.
                                                                    AUC: 0.982
                                                                    TPR@FPR=1%: 0.714
                                                  10 3 3
                                                     10    10 2          10 1        100
                                                           False positive rate
                                   Figure 21: Membership attack against a conditional and
                                        unconditional diffusion model on CIFAR-10.




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D    More Inpainting Attacks on CIFAR-10
Here, we take a deeper dive into the inpainting attacks introduced in Section 5.3. As previously explained, for a target
x, we create Xrec where |Xrec | = 5000. In Figure 22a, for every xrec ∈ Xrec , we plot the normalized `2 distance between
the reconstruction and target, against the loss (at diffusion timestep 100) of xrec . We also plot in Figure 22d, the eight
examples from Xrec that have the smallest loss on the main model. There is a small positive correlation between loss
and `2 distance; although some appear to be similar to x, there are notable differences.
   In Figure 22b we compare the loss of each reconstruction on the main model against the support model we will use
to form the contrastive loss. We make this correlation more pronounced by dividing the main loss by the support loss
in Figure 22c. This has the effect of increasing the correlation between the (now contrastive) loss and `2 distance. This
has the effect of filtering out examples that are seen as likely under both models, and can be seen by inspecting the
                                                         main model loss
eight examples from Xrec that have have the smallest support   model loss in Figure 22e. These examples look more visually
similar to x in comparison to examples in Figure 22d.
   Figure 22 inspected the attack success when x was in the training set. We show in Figure 23 that the attack fails
when x was not included in training; using a contrastive loss doesn’t signficantly increase the Pearson correlation
coefficient. This means our attack is indeed exploiting the fact that the model can only inpaint correctly because of
memorisation and not due to generalisation.




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(a) Loss (using the main model at diffusion (b) Comparison of loss on main and                                main model loss
    timestep 100) on all 5,000 inpainted   support models (at diffusion timestep 100) (c) Contrastive loss ( support model loss ) on
                                               on all 5,000 inpainted examples.          all 5,000 inpainted examples Xrec .
              examples Xrec .


                                                                                                            main model loss
      (d) 8 inpainted examples with the smallest loss. Leftmost (e) 8 inpainted examples with the smallest support model loss .
         is the original example, second to left is the masked     Leftmost is the original example, second to left is the
             example and the rest are inpainted examples.          masked example and the rest are inpainted examples.

      Figure 22: Example of an inpainting attack (against a model we refer to as the main model) on an image
       of a bird from CIFAR-10 when that image is included in training, and we mask out 60% of the central
            pixels. In (a) we plot the L2 distance between 5,000 inpainted reconstructions and the original
          (non-masked out) image and compare this to the loss with respect to the (main) model. In (b), we
      compare the loss of these reconstructions on the (main) model with a support model for which we know
      the image wasn’t contained in the training set. In (c), we compare L2 distances between reconstructions
      with a contrastive loss which is given as the loss of the image with respect to the main model divided by
       the loss of the image with respect to the support model, and find there is stronger relationship between
        smaller L2 distances and smaller losses compared to (a). Figure (d) gives examples of reconstructions
             with small loss and Figure (e) gives examples of reconstructions with small contrastive loss.




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(a) Loss (using the main model at diffusion (b) Comparison of loss on main and                                main model loss
    timestep 100) on all 5,000 inpainted   support models (at diffusion timestep 100) (c) Contrastive loss ( support model loss ) on
                                               on all 5,000 inpainted examples.          all 5,000 inpainted examples Xrec .
              examples Xrec .


                                                                                                              main model loss
        (d) 8 inpainted examples with the smallest loss. Leftmost (e) 8 inpainted examples with the smallest support model loss .
           is the original example, second to left is the masked     Leftmost is the original example, second to left is the
               example and the rest are inpainted examples.          masked example and the rest are inpainted examples.

      Figure 23: Example of an inpainting attack (against a model we refer to as the main model) on an image of a
     bird from CIFAR-10 when that image is not included in training, and we mask out 60% of the central pixels. In
      (a) we plot the L2 distance between 5,000 inpainted reconstructions and the original (non-masked out) image
             and compare this to the loss with respect to the (main) model. In (b), we compare the loss of these
      reconstructions on the (main) model with a support model for which we know the image wasn’t contained in
     the training set. In (c), we compare L2 distances between reconstructions with a contrastive loss which is given
        as the loss of the image with respect to the main model divided by the loss of the image with respect to the
           support model, and find there is stronger relationship between smaller L2 distances and smaller losses
     compared to (a). Figure (d) gives examples of reconstructions with small loss and Figure (e) gives examples of
                                         reconstructions with small contrastive loss.


E     GAN Training Setup
We used on StudioGAN10 codebase for training GAN in this work. For the StyleGAN and MHGAN architectures, we
followed the default hyper-parameters provided in the StudioGAN repository. However, for the BigGAN architecture,
we increased the number of training steps to 200,000, which is different from the original hyper-parameters, to increase
image fidelity. We trained a total of 256 models for each GAN architecture, with each model being trained on a
randomly selected half of the CIFAR-10 dataset. We selected the iteration that achieved the highest FID score on the
test set for each model.

F     Additional GAN Extraction Results
Figure 24 and Figure 25 contain additional examples extracted from GANs trained on CIFAR-10.




    10 https://github.com/POSTECH-CVLab/PyTorch-StudioGAN




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                                                (a) StyleGAN




                                                 (b) MHGAN




                                                 (c) BigGAN

Figure 24: Training examples extracted from a CIFAR-10 GAN for different architectures across 107 generations.

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                                                     (a) WGAN




                                                     (b) E2GAN




                                                      (c) NDA




                                              (d) DiffAugment-BigGAN




                                                 (e) StyleGAN-ADA




                                                     (f) DDPM

Figure 25: Training examples extracted from different publicly available pretrained GANs and diffusion (DDPM)
models. We use normalized `2 distance in pixel space to find memorized training samples. In each pair of images, left
and right image corresponds to real and it closely synthetic image. For StyleGAN-ADA and DDPM model we display
120 pairs with smallest normalized `2 distance. For others we display all memorized training images. 1M generations




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                      EXHIBIT D
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                                              A Reproducible Extraction of Training Images from
                                                              Diffusion Models
                                                                                   Ryan Webster
                                                                                     Unicaen
                                                                               ryan.webster@unicaen.fr
arXiv:2305.08694v1 [cs.CV] 15 May 2023




                                                                                    May 16, 2023

                                                                                        Abstract
                                                    Recently, [5] demonstrated the widely used model Stable Diffusion can regurgitate
                                                real training samples, which is troublesome from a copyright perspective. In this work,
                                                we provide an efficient extraction attack on par with the recent attack, with several order
                                                of magnitudes less network evaluations. In the process, we expose a new phenomena,
                                                which we dub template verbatims, wherein a diffusion model will regurgitate a training
                                                sample largely in tact. Template verbatims are harder to detect as they require retrieval
                                                and masking to correctly label. Furthermore, they are still generated by newer systems,
                                                even those which de-duplicate their training set, and we give insight into why they
                                                still appear during generation. We extract training images from several state of the
                                                art systems, including Stable Diffusion 2.0, Deep Image Floyd, and finally Midjourney
                                                v4. We release code to verify our extraction attack, perform the attack, as well as all
                                                extracted prompts at https://github.com/ryanwebster90/onestep-extraction.


                                          1    Introduction
                                          Over the past few years, advances in large scale image generation systems have been brought
                                          on by publicly available billions scale datasets [24, 23, 27, 22]. Due to their high quality,
                                          generality and ease of use, image generation systems such as Midjourney [17] and Stable
                                          Diffusion [27] have garnished millions of activate users, most of which have little technical
                                          knowledge. To train such models, largely automated bots search for suitable text and image
                                          pairs from all over the web, as is the case with the training set of Stable Diffusion, LAION-2B
                                          [23].
                                              The widespread use of these generation systems is a testament to their generalization
                                          capacity; users often want to generate an image which doesn’t exist or transform existing
                                          images to add new content. However, recent demonstrations show that popular systems
                                          such as Stable Diffusion can regurgitate exact copies of training images [20, 5, 26, 28]. In
                                          [20, 5], highly duplicated images appear to be a necessary but not sufficient precursor to
                                          model memorization. Also, several new works suggest the training datasets do have a high
                                          level of duplication [28, 1], with [28] showing that almost a third of the two billion images in
                                          the Stable Diffusion v1 are near duplicates.
                                              Whilst democratizing the creative process is a promising feature of generative models,
                                          they also can negatively and unfairly impact existing artists. This is especially true for
                                          artists whose work was scraped during dataset creation and who are not correctly attributed.
                                          However, enforcing copyright in the U.S. is often a difficult, complicated and expensive
                                          battle [18], not to mention the law is largely undefined for generative models [10]. For Stable
                                          Diffusion, it’s fairly easy to prove your training data was used, as the training set is known
                                          [19], but for closed source systems, one would have to employ a membership inference attack,
                                          which is a challenging problem in its own right [12, 5]. Thus, we focus on reproducibility in
                                          this work; releasing both the code and an efficient method running on consumer machines.


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     In this work, we provide the following contributions:
     • In Sec. 3, we observe that popular models can regurgitate samples with a single
       sampling step. We use this fact to construct whitebox and blackbox attacks. We also
       describe template verbatims, wherein a training sample is copied largely in tact, with
       non-semantic variations in fixed image locations.

     • In Sec. 5, we show that our attack is largely on par with the one in [5], whilst taking
       considerably less network evaluations. It can also be used in tandem with [5] as a post
       filtering.
     • Finally, in Sec. 5.2, we extract samples from a variety of other models, including the
       closed source system Midjourney. We also provide several insights into the nature of
       template verbatims and why they still appear even in systems that deduplicate their
       training set.


 2     Related work
 Billions Scale Datasets If the first "web scale" image dataset, LAION-400M, was released
 just a few years ago [24], even larger datasets have been subsequently released [4, 23]. The
 most widely used is the LAION-5B dataset, with roughly 5 billion text image pairs and the
 corresponding english language subset LAION-2B-en [23]. These datasets are automatically
 collect and text image/text pairs are only selected if they have a high enough CLIP score [21].
 The CLIP network [21, 14], is trained to align image and text features with a contrastive
 loss and can provide a score that corresponds to a caption’s relevance to an image. Thus,
 during construction of LAION-5B CLIP features are computed and the authors released
 CLIP features alongside the dataset.

 Deduplication In [28], the CLIP image features were used to deduplicate LAION-2B,
 which revealed almost a third of the dataset are near duplicates. In fact, in subsequent work,
 we noted that around 500M of these are MD5 duplicates; i.e. duplicates at the file level.
 In [5, 20], it was noted that highly duplicated samples tend to be memorized by diffusion
 models and in [20], they de-duplicated before training. Likewise, in Stable Diffusion 2.0 [27],
 the author’s used a perceptual hash to deduplicate before training. As we’ll see in Sec. 5.3,
 this is effective at mitigating the verbatims found in [5], but not all. Finally, in SemDeDup
 [1], it was noted that around 50% of the samples of LAION-400M, which have a very close
 semantic pair, can simply be removed while keeping or improving the zero-shot performance
 of CLIP.

 Membership Inference As we touched on in the introduction, in order to enforce copy-
 right, owners would have to first prove their data exists within the models training set. For
 models like Midjourney or DALLE-2, the model parameters and training sets are unknown.
 In machine learning, the process of determining which training samples were used only from
 model outputs, is known as membership inference and in particular the challenging "black
 box" setting. Membership inference has been widely studied against GAN generated images,
 with varying success, for a wide variety of different settings, for instance in [12]. Several
 very recent approaches have designed black box attacks specifically against diffusion models
 [16, 9, 13], but conduct studies versus relatively small datasets (<1M samples). Namely,
 in the recent work in [13] a loss based attack is presented which bears resemblance to our
 whitebox attack (See Eq. 3.1), however they do so in the unconditional case, and observe
 better performance later in the generation process.




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        Type        One Step      New Noise       Full Step       Match         Retrieve


        Exact
       Verbatim



       Template
       Verbatim



         Non-
       Verbatim



 Figure 1: Training images can be extracted from Stable-Diffusion in one step. In the first
 row, a verbatim copy is synthesized from the caption corresponding to the image on the
 second to last column. In the second row, we present verbatim copies that are harder
 to detect: template verbatims. They typically represent many-to-many mappings (many
 captions synthesize many verbatim templates) and thus the ground truth is constructed
 with retrieval (right most column). Furthermore, they exhibit variation in fixed locations of
 the image; here the color of the carpet can change so they must be masked to be correctly
 detected. Non-verbatims have no match, even when retrieving over the entire dataset. See
 Sec. 4 for how we construct the ground truth here in this case.


 Extraction Attacks A special case of membership inference, is the ability to actually
 reconstruct training samples from model outputs [6, 5]. Extraction is a much harder problem
 and typically is only possible for very few samples. In [5], only roughly 100 images were
 reconstructed from stable diffusion, out of 350K attempted prompts. Thus, this setting
 typically is only concerned with precision, and number of samples extracted, rather than the
 typical precision recall in membership inference. Extracted samples however clearly have
 higher implications to privacy or copyright.


 3     Attack Model
 In our initial experiments, we reproduced a small scale version of [5]. We used the open
 source de-duplication in [28], which finds near duplicates using compressed CLIP image
 features and synthesized a small set of the most duplicated images. We found verbatim
 copies have the property that they can be synthesized in a single iteration. Fig. 1 shows
 clearly different behaviors for prompts that are copied versus those that are not. We use
 this as an intuition to construct a whitebox attack presented next.

 3.1     Whitebox Attack
 In this setting, we assume the attacker has both the captions and the model parameters.
 Recall that conditional diffusion models train a denoising autoencoder D(zt , c), which will
 recover the real sample z0 given its noised version zt . At synthesis time, a sample is drawn
 from a gaussian distribution  ∼ N (0, 1) and given a variance σT for timesteps T depending
 on the sampler (see [22, 15] for more details). We propose an easy to compute metric, which
 can capture the one step synthesis property in Fig. 1 by measuring how much D(σT , c)




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 modifies the noise as follows:
                                                                 2
                                  DCS(c) := kσ1  − D(σ1 , c)k2                            (1)

     Here, σ1 is initialized given the Heun sampler implemented in [8] with one time step. We
 call this error the Denoising Confidence Score (DCS). we can turn this into a binary classifier
 then by threshing it’s values with τDCS as follows
                                   FDCS (c; τ ) = 1DCS(c)≥τDCS                              (2)

     Whilst this is "whitebox," we in fact don’t need access to the parameters of the diffusion
 model, just the noise generation process. For latent diffusion models, we just require the
 first stage downsampling encoder.

 3.2    Black Box Setting
 We consider the setting similar to [5], wherein an attacker has captions but can only invoke
 Gen(c, r) for caption c, random seed r and we also assume the ability to control the timesteps
 T (as is the case for Midjourney). Henceforth, we use Gen(c, r, T = 1) when we control
 the timesteps and simply Gen(c, r) for full synthesis. We construct our attack inspired by
 the observation in Fig 1, that is we still use one iteration for synthesis. We noticed non
 verbatims normally start as highly blurry images (Fig 1, last row). Blurry images will not
 have consistent edges (or no edges at all) in contrast to the natural appearing verbatims
 with clear edges. We thus employ a simple image processing technique by first computing
 the images edges, and then look for how consistently these same edges appear for other seeds.
 Letting the operator Edge() outputting a binary image from threshing the magnitude of
 spatial gradients (e.g. with a sobel filter), we define the Edge Consistency Score (ECS) as
 follows                                                                2
                                    1  X
                      LECS (c) =          Edge(Gen(c, rj , T = 1)) ≥ γ                    (3)
                                    J
                                       j≤J
                                                                          2
 Where J represents generating over several random seeds and γ a threshhold. Note that the
 term on the LHS of Eq. 3 is the average image of binary edges, thus γ should be chosen
 proportional to J. We construct a binary classifier in the same way as in Eq. 3.1. Whilst
 crude, we find that this score works decent in practice.


 4     Constructing a Ground Truth
 As we’d like to evaluate the precision of the above attacks, we need to ascertain images that
 are truly copied by the model. We describe two ways to label images as copied below:

 Matching Verbatims (MV) In [5], an image is considered to be a ground truth verbatim
 copy if its MSE between the generated image from caption c and it’s corresponding dataset
 image x is small enough, i.e.
                                                                     2
                             LM V (x, c; J) = min kx − Gen(c, rj )k2                        (4)
                                              j≤J

  We take the minimum over J random seeds rj as sometimes verbatims appear after a few
 seeds. Then, the ground truth labels are simply a thresh-hold on this distance
                             IsVerb(x, c; J, δV ) = 1LM V (x,c;J)≤δV                        (5)
 We chose δV = .12. This is slightly more relaxed than what was chosen in [5], and simply
 prune false positives by hand (such as images of textures or without objects that can be false
 positives), which given the rarity of positively labeled images is feasible.


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            (a) Midjourney v4 [17]                              (b) Deep Image Floyd [25]




          (c) Stable diffusion v1 [22]                          (d) Stable diffusion v2 [27]

 Figure 2: Template verbatims for various networks: Left is generated, middle is retrieved
 image and right is the extracted mask. Template verbatims originate from images that have
 variation in fixed spatial locations in L2B. For instance, in the top-left, varying the carpet
 color in an e-commerce image. These images are generated in a many-to-many fashion (for
 instance, the same prompt will generate the topleft and bottom right images, which come
 from the "Shaw floors" series of prompts).


 Retrieval Verbatims We noticed that some images would not correspond to their match-
 ing image, despite having the curious property of one-step synthesis (see Fig. 1). Thus, we
 retrieved the images with an index [28, 3]. Furthermore, we found that many images which
 had very few duplicates, had extremely many near duplicates that differed in only one region
 of the image. These images would commonly be e-commerce images that would vary an
 aspect of the sale item: e.g. an image of furniture with a large variety of carpet colors. We
 thus update our verbatim condition to accommodate retrieval and masks as follows
                                                                                       2
              LT V (x, c, mx ) =    min      kmx   (kNN(Gen(c, rj ), k) − Gen(c, rj ))k2       (6)
                                   k≤K,j≤J

  Here, kNN(x, k) is the k-th nearest neighbor on LAION-2B, retrieved via a CLIP image
 embedding and mx a spatial mask corresponding to x to mask out the regions of variation.
 Whilst our mask creation is automated, in practice we selected samples that had an extremely
 close retrieved sample (Eq. 4 with no mask) and didn’t contain an all white background (or
 texture, which would pose problems to the MSE). We note this procedure could be potentially
 be automated, for instance with object detection on the unmasked regions. Finally, we
 noticed that very rarely, exact verbatims could be retrieved (again Eq. 4 with no mask). We
 call these retrieval verbatims (RV).

 Evaluation Of course, we will not be able to construct the ground truth for every image
 of L2B, as it entails generating images, retrieval and mask construction. Besides, extraction
 attacks typically are concerned with precision and number of samples found, rather than
 recall. We thus only generate and compute the ground truth for the top images selected by
 our attacks Eq. 3.1 and Eq. 3 and measure precision versus number of verbatims found.


 5    Results
 In this section, we evaluate our white box and black box extraction attacks against several
 popular diffusion models. We evaluate each in the following way

 Whitebox We begin by using the de-duplication in [28] to obtain the 2M most duplicated
 images and their corresponding prompts. We then compute the DCS Eq. 3.1 for every caption


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 Figure 3: Precision recall curves for the whitebox attack and black box attacks (see Sec. 4.
 For both black box settings, we first pre-filter for the top 30K images selected via the
 whitebox score, then sort with the black box edge score. On the right, we sort via the
 black box score, synthesize 500 samples (setting "+Carlini," [5]) and then perform their
 attack. This makes the attacks much more precise. Note also that these verbatims are not all
 unique. In general, we found a similar number of MVs as [5], and about 50% more template
 verbatims. See Table 1.


 for the Stable Diffusion v1 network [22]. This attack takes only a single unet evaluation per
 caption.

 Blackbox This setting requires several unet evaluations per caption (the J parameter in
 Eq. 3), which is too expensive for millions of captions. Thus in practice, we pre-filter using
 the whitebox DCS for the top 30k samples and compute our black box LECS Eq. 3. For
 stable diffusion V1, this is obviously not black box. Even so, extracting verbatims from
 30k images still is a strong indicator of the success of a true black box attack given their
 rarity (around a 1% chance of being randomly selected). For black box attacks against stable
 diffusion v2, this is a purely black box procedure. We compute Eq. 3 for J = 4 samples and
 but still only one timestep of the Heun sampler; for a total of 4 unet evaluations per caption.
 In [5], they performed 500 full generations. Assuming a conservative estimate of 16 iterations
 per generation (although they used 50 in the paper), makes our attack 500 ∗ 16/4 = 2000x
 times more efficient than the attack in [5].

 Post filtering with Carlini et. al Our attack is not incompatible with the one in [5].
 For those images we deem most likely to be verbatims (given our whitebox or black box
 method), we then synthesize 500 samples per caption and mark captions as verbatims when
 inter-sample synthesis is overly repetitive (i.e. there is many duplicate synthesis images).

 5.1    Analysis
 Fig. 4 shows the precision of the attacks versus the number of verbatims found for Stable
 Diffusion v1 and v2. Our whitebox attack has much higher precision than the black box
 variants. The black box attacks start with low precision, as there were some samples that
 were "adversarial" to the method, such as images of textures or that were mostly backgrounds.
 When combining our black box attack with [5], our black box attack becomes much more
 precise.

 5.2    What Makes Prompts Prone to Regurgitation?
 It is still unclear why diffusion models will regurgitate some samples and not others. Dupli-
 cation alone is not a sufficient condition for the model to memorize the sample. The authors


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        (a) Multi-modal duplication rates for       (b) Duplication rates for exact ver-
        exact verbatims Eq. 4 versus non-           batims versus template verbatims.
        verbatims. Exact verbatims tend             Template verbatims may be highly
        to be multimodal duplicates (dupli-         duplicated w.r.t. their mask, but
        cates in text and image) more often         without the masks they have rela-
        than other sample highly duplicated         tively low levels of duplication as
        in image feature space only.                they variable parts of the image.


                          Figure 4: Histograms of duplication rates.


 in [5] found that anomaly detection was not successful at detecting them. As we de-duplicate
 with image features, we explore what percentage of these samples are multi-modal duplicates.
 In Fig. 4 we show the percentage of features that share the same prompt within a duplicate
 group. The verbatim samples show a significantly higher rate of multimodal duplication
 than non-verbatims (randomly chosen in the top 2M most duplicated).

 Template Verbatims Template verbatims are more difficult to label as ground truth,
 not only because they require retrieval and masking, but also because they’re not highly
 duplicated, as shown in Fig. 4. Note that Stable Diffusion v2 did deduplicated L2B before
 training. Unsurprisingly, we did not find any examples of exact verbatims being copied on
 Stable Diffusion v2, however, we still found many template verbatims, see Tab 1. Thus, a
 more relaxed duplication detection, such as the semantic duplicates found in SemDeDup [1],
 may be necessary to weed out these samples. We leave this for future work.

 5.3    Extracting Verbatims in Other Models

    Model                         Deduplicated Training?    Retrieved     Template     Exact
    Stable Diffusion V1 [22]               No                  37            45         71
    Stable Diffusion V2 [27]               Yes                  0            21          4
    Deep Image Floyd [25]                  Yes                  0            15          2
    Midjourney v4 [17]                  Unknown                 5            8           2
    OpenJourney (from [7])                 No                  14            29         73
    RealisticVision (from [7])             No                  15            32         90

 Table 1: Number of ground truth verbatims extracted from several models. For deep floyd
 and Midjourney, we use the top 500 prompts sorted from Eq. 3 from SDV1 (i.e. we don’t
 perform the attack, just extract images). De-duplicated models seem less susceptible to
 exact verbatims, but are still vulnerable to template verbatim extractions. See Sec. 5.3

    Having obtained our ground truth for Stable Diffusion V1 and V2, we test whether
 these prompts are also verbatim copied by a variety of other models, such as state of


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 Figure 5: Several failure cases in ground truth construction. In the top left (Midjourney,
 generation on right), some samples fall just below our ground truth MSE for matching
 verbatims, and thus are not marked as extracted. Note however, this sample shows little
 to no variation in generation, and thus is still a failure mode of the model. The remaining
 images demonstrate failures with retrieval; a different crop or small distortion will not be
 labeled as ground truth, even if by inspection these are clearly copied.


 the art diffusion model DeepIF [25], and the closed source system MidJourney [17]. For
 Midjourney, this was done manually through discord for around 100 prompts, and we swept
 over the number of time steps until a verbatim was found. Tab. 1 shows the total number
 of ground truth verbatims extracted. With Midjourney [17], the model is entirely black
 box, and likewise for the training set. Still, we find it still regurgitates some of the same
 prompts as other models, which are known to be trained on L2B. Interestingly, it is also less
 susceptible to the exact verbatim regurgitation like SDV2, so we hypothesize that Midjourney
 de-duplicated their training set before training. Finally, we note the popular stable diffusion
 checkpoint model openjourney, which was fine tuned from SDV1 using images and prompts
 from midjourney, and typically generates fantasy and surreal images better than the original
 model. In contrast, realistic vision, which is also a checkpoint, focuses on more photographic
 realism. Both models are corrupted and regurgitate the same prompts, and for realistic
 vision, the problem is exacerbated.

 5.4    Limitations
 As is noted in [26], images patches can appear in generated images with no variation,
 but perhaps cut and pasted in various spatial locations around the image. During our
 experiments, we also noted this phenomena was common. Our template verbatim ground
 truth construction clearly does not handle this case. Fig 5 shows several failure cases for
 the ground truth construction. In many images, the retrieved image is cropped and scaled
 slightly different (bottom left), and thus was not labeled as a template verbatim. In general,
 for future work, it may be worth while to explore more flexible copy detection, such as those
 which are invariant to some permutations of patches [2].




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 6    Discussion and Conclusion
 In this work, we presented an extraction attack successful versus several widely used diffusion
 models. Our attack was on par with previous methods, whilst requiring significantly less
 network evaluations. Furthermore, we automated labeling of template verbatims, i.e. images
 that showed non meaningful variations in fixed locations in the image. We shed insight into
 why these images still appear even in models which have deduplicated their training data,
 such as Stable Diffusion 2.0 and deep image floyd; they are not highly duplicated in the
 standard sense, but likely are highly duplicated w.r.t. a mask.
     Verbatim copied images are a small part of a larger set of issues generative models face
 today. Our results should be interpreted as more of a theoretical one; this is something
 real world systems can do, but it appears to happen very rarely. The larger issues are the
 non-transparency of the datasets used to train generative models and the fact that images
 generated don’t provide attribution alongside their generation. Indeed, a common use case
 of current generation systems is to generate in the style of a living artist. Likely, future
 iterations should include an attribution mechanism to accommodate for this. In general,
 this may be a difficult problem from a technical standpoint, but maybe not infeasible. For
 instance, by using the "public" and "private" paradigm in the privacy literature. The public
 model could be a general generation system, with smaller systems, for instance trained via
 [11], to generate a specific style with attribution. In any case, on going discussion, such as
 those raised in [19] and their resolution, will likely shape future generation systems to be
 more fair and overall more useful.


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                      EXHIBIT E
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                                               Measuring the Success of Diffusion Models at Imitating Human Artists


                                                                                      Stephen Casper * 1 Zifan Guo * 1
                                                                          1
                                                   Shreya Mogulothu           Zachary Marinov 1 Chinmay Deshpande 2 Rui-Jie Yew 1 3 Zheng Dai 1
                                                                                          Dylan Hadfield-Menell 1


                                        Overview                                                                         "Artwork from
                                                                                                                        [artist's name]"
                                        Modern diffusion models have set the state-of-the-art in AI
arXiv:2307.04028v1 [cs.CV] 8 Jul 2023




                                        image generation. Their success is due, in part, to training
                                        on Internet-scale data which often includes copyrighted                               Stable
                                        work. This prompts questions about the extent to which                               Diffusion
                                        these models learn from, imitate, or copy the work of human
                                        artists.                                                                         Imitation Image               Labels
                                        This work suggests that questions involving copyright lia-                                                  "Artwork from
                                                                                                                                                     [artist 1]"
                                        bility should factor in a model’s capacity to imitate an artist.                                                 ...
                                        Tying copyright liability to the capabilities of the model                                                  "Artwork from
                                        may be useful given the evolving ecosystem of generative                                                     [artist n]"

                                        models. Specifically, much of the legal analysis of copyright                                             [Default label(s)]
                                        and generative systems focuses on the use of protected data
                                        for training (Sag, 2018; Lemley & Casey, 2020). However,
                                                                                                                               CLIP                    CLIP
                                        generative systems are often the result of multiple train-
                                                                                                                              Image                     Text
                                        ing processes. As a result, the connections between data,                            Encoder                  Encoder
                                        training, and the system are often obscured.
                                        In our approach, we consider simple image classification                         Image Encoding          Label Encodings
                                        techniques to measure a model’s ability to imitate specific
                                        artists. Specifically, we use Contrastive Language-Image
                                        Pretrained (CLIP) (Radford et al., 2021) encoders to classify
                                                                                                                                                         ...
                                        images in a zero-shot fashion. Our process first prompts
                                        a model to imitate a specific artist. Then, we test whether
                                        CLIP can be used to reclassify the artist (or the artist’s work)
                                        from the imitation. If these tests match the imitation back to                               Classify based
                                        the original artist, this suggests the model can imitate that                                 on similarity
                                        artist’s expression.
                                                                                                             Figure 1. Identifying human artists from Stable Diffusion Im-
                                        Our approach is simple and quantitative. Furthermore, it             itations. For each artist, we generate an imitation image from
                                        uses standard techniques and does not require additional             Stable Diffusion with the prompt “Artwork from < artist name >.”
                                        training. We demonstrate our approach with an audit of Sta-          Next, we encode the image with a CLIP image encoder (Radford
                                        ble Diffusion’s (Rombach et al., 2022) capacity to imitate           et al., 2021). We also encode labels corresponding to n total artists
                                        70 professional digital artists with copyrighted work online.        plus one or more ‘default’ labels with a CLIP text encoder. Finally,
                                        When Stable Diffusion is prompted to imitate an artist from          we classify the image among all labels using a geometric similarity
                                        this set, we find that the artist can be identified from the         measure between the encodings. If the label reliably corresponds
                                        imitation with an average accuracy of 81.0%. Finally, we             to the correct artist, we consider the model to have the capability
                                                                                                             to imitate that artist.
                                           *
                                             Equal contribution 1 MIT 2 Harvard University 3 Brown Univer-
                                        sity. Correspondence to: Stephen Casper <scasper@mit.edu>.           also show that a sample of the artist’s work can be matched
                                                                                                             to these imitation images with a high degree of statistical re-
                                        Accepted to the 1 st Workshop on Generative AI and Law, co-          liability. Overall, these results suggest that Stable Diffusion
                                        located with the International Conference on Machine Learning,       is broadly successful at imitating individual human artists.
                                        Honolulu, Hawaii, USA. 2023. Copyright 2023 by the author(s).
                                                                                                             Code is available here.
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                             Measuring the Success of Diffusion Models at Imitating Human Artists




Figure 2. Example images generated by Stable Diffusion from prompts of the form “Artwork from <artist’s name>”. Using the
method depicted in Figure 1, we show that the artists used in the prompts can often be classified from these imitations of their work.


1. Background                                                        method in our proposed test.
Contrastive Language-Image Pretraining (CLIP): CLIP                  Diffusion Models: Diffusion models (Sohl-Dickstein et al.,
(Radford et al., 2021) is a technique for training AI sys-           2015) such as Stable Diffusion (Rombach et al., 2022) and
tems that encode images and text into fixed-length vector            Midjourney (Midjourney, 2022), are capable of generating
representations. CLIP image and text encoders are trained            images from arbitrary, user-specified prompts. Their suc-
to produce similar encodings of image/caption pairs and              cess has largely been due to training on large amounts of
dissimilar encodings of image/caption non-pairs. The more            text/image data, often including copyrighted works (Schuh-
geometrically distant two encodings of images or captions            mann et al., 2021). Modern image-generation diffusion
are, the less related they are according to the encoder, and         models are trained using CLIP-style encoders. When given
vice versa. Using this principle, Radford et al. (2021) intro-       an encoding of a caption, a diffusion model is trained to
duced a method to classify an image among a set of labels            generate an image corresponding to the caption (Ramesh
based on the distances between encodings. We use this                et al., 2022). Accordingly, a diffusion model that generates
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                               Measuring the Success of Diffusion Models at Imitating Human Artists

                                                                        2.1. Identifying Artists from Imitations
                                                                        Method: We used CLIP encoders to classify artists from
                                                                        Stable Diffusion’s imitations of them. We selected 70
                                                                        artists from the LAION-aesthetics dataset (Schuhmann et al.,
                                                                        2021), the dataset used to train Stable Diffusion. We se-
                                                                        lected these 70 as artists who may potentially be harmed
                                                                        by digital imitations using several criteria: each artist is
                                                                        alive, has a presence on digital art platforms (Instagram,
                                                                        DeviantArt, and ArtStation), publishes artwork or sells their
                                                                        artwork (e.g., prints or digital works), and has more than
                                                                        100 images in the LAION dataset.
                                                                        Figure 1 outlines our method. We prompted Stable Diffu-
                                                                        sion (v1.5) to generate images in the style of each artist,
                                                                        using prompts of the form “Artwork from <artist’s name>”.
Figure 3. Results from human artists strongly outperform base-          Example images are in Figure 2. We then used CLIP en-
lines. Success rates for classifying artists from Stable Diffusion’s    coders to classify each image among a set of 73 labels.
attempts to imitate them. Professional artists can be classified from
                                                                        The 73 labels consisted of each of the 70 artist’s prompts
imitations over 81.0% of the time on average. This compares to
                                                                        (“Artwork from <artist’s name>”) plus three default labels:
8.6% for a baseline in which we used random names instead of
artists’ names and 1.4% for a random guess baseline.                    “Artwork”, “Digital Artwork”, and “Artwork from the pub-
                                                                        lic domain.” These additional labels lend insight into how
                                                                        confident CLIP is that an image imitates a particular artist’s
images from these embeddings is trained to be the inverse               style instead of some more generic style. We then classified
of a CLIP image encoder.                                                each imitation image among these labels using the technique
Legal Motivation: In the United States, Newton v. Di-                   from Radford et al. (2021). CLIP-based classification pro-
amond, 388 F.3d 1189, 1195 (9th Cir. 2004) established                  duces a probability of an image matching each label, and
that copyright infringement “is measured by considering the             we evaluate the model on the correctness of its most-likely
qualitative and quantitative significance of the copied por-            prediction and confidence in the correct artists.
tion in relation to the plaintiff’s work as a whole”. However,          Results: We repeated the experiment with the 70 artists ten
the subjective nature of these determinations makes practical           times to reduce the effect of random variation. On average,
enforcement complicated. (Balganesh et al., 2014; Kamin-                CLIP correctly classified 81.0% of the generated images as
ski & Rub, 2017; Balagopalan et al., 2023). In evaluating               works made by artists whose names were used to generate
copyright questions involving AI systems, legal analyses                them. Over the ten trials, 69 of the 70 artists were correctly
have focused on how copyrighted work is used in the sys-                classified in a plurality of the ten trials. Overall, these results
tem’s training data (Sag, 2018; Lemley & Casey, 2020), but              suggest that Stable Diffusion has a broad-ranging ability to
such a focus on training data does not connect liability to             imitate the styles of individual artists. We compared these
an AI system’s ability to copy an artist. In contrast, we               results to two baselines. First, we implemented a random-
show how standard image classification techniques can be                name baseline by running the same experiment with 70
used to help determine how successful AI image generators               random names from a random name generator. Since Stable
are at imitating individual human artists. This approach is             Diffusion was not trained on artists with these names (unless
consistent, quantitative, and connected to the capabilities             a random name is coincidentally the same as some artist’s),
of the resulting AI system. Our goal, however, is not to                this experiment serves as a proxy for how Stable Diffusion
automate determinations of infringement but to demonstrate              would handle artists not in its training data. In this case, only
how tried and tested image classification techniques from               6 names (8.6%) were guessed correctly. Second, a random
machine learning can be used to analyze legal claims.                   guess would only result in a successful classification every 1
                                                                        in 73 attempts (1.4%) on average. We visualize results from
2. Experiments                                                          our main experiment alongside the controls in Figure 3.

We conduct two complementary experiments to evaluate                    Results are Robust to Different Sets of Artists: To test
Stable Diffusion’s ability to imitate human artists. First, we          whether our 70 artists were especially classifiable, we ran the
classify human artists from imitations of their work, and               original experiment but with a larger set of indiscriminately-
second, we match real work from human artists to imitations.            selected artists and found similar results. We selected the
Both experiments suggest that Stable Diffusion is broadly               250 artists with the highest number of images in the LAION
successful at imitating human artists.                                  dataset and found that CLIP correctly classified 81.2% of
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                                  Measuring the Success of Diffusion Models at Imitating Human Artists

                                                                           10 Stable Diffusion imitations of the artist




                       Artist's real       CLIP
                          image          Encoding

                                                    Compare encoding       vs.
                                                                                                           ...                ...
                                                       similarities
                                                                           690 Stable Diffusion imitations of other artists




                                                                                                           ...                ...




Figure 4. Matching human artwork to imitations from Stable Diffusion: (Top) Method: We compared the encoding of one real image
per artist to 10 imitations of that artist and 690 imitations of the other artists. Then we aggregated these results with a statistical rank sum
test. (Bottom) Results: Artwork generated by Stable Diffusion with the prompt “Artwork from <artist’s name>” is significantly more
similar to real artwork by the artist in question than artwork generated to imitate other artists. Artists for which the experiment resulted in
a (Bonferroni-corrected) p-value below 0.05 are highlighted in red. This occurred for 90% (63/70) of the artists.

the images. This demonstrates that successful classification              sum test with a Bonferroni correction factor of 70. Results
transcends a particular specific set of artists.                          are in Figure 4. 90% (63/70) of the experiments produce p
                                                                          values less than 0.05. This compares to an average of 22.8%
2.2. Matching Artwork to Imitations                                       (16/70) for a control experiment using random artist assign-
                                                                          ments of real images. These results further support that
Method: Our first experiment tested how easily artists could              Stable Diffusion is broadly successful at imitating artists.
be identified from diffusion model imitations of them. To
provide a complementary perspective, we also directly study
the similarity of artists’ digital works to Stable Diffusion’s            3. Conclusion
imitations of them. For each of the 70 artists, we retrieve the           We have demonstrated how AI image classification can
top result obtained by Google Image searching “<artist’s                  help to measure the success of diffusion models imitating
name> art.” As before, we then use Stable Diffusion to                    human artists. We argue that these methods can provide a
generate 10 images for each artist with the prompt “Artwork               practical way to tie questions about copyright liability to
from [artist’s name].” We then compare the real images and                the capabilities of a model instead of its training data alone.
generated images. Distances are measured by first encoding                By matching imitation images to both artists’ names and
images using the CLIP image encoder and calculating the                   works, we find that Stable Diffusion is broadly successful
cosine distance between encodings.                                        at imitating human digital artists. We hope that future work
Results: For each artist, we calculate whether real images                can use image classification to analyze legal claims and to
from artists are more similar to imitations of that artist or             test defenses against AI imitation of copyrighted work.
other artists. The significance was calculated using a rank
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       6. The Output You Generate. Except as set forth herein, Licensor claims no rights
       in the Output You generate using the Model. You are accountable for the Output you




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       generate and its subsequent uses. No use of the output can contravene any provision
       as stated in the License.

       Section IV: OTHER PROVISIONS

       7. Updates and Runtime Restrictions. To the maximum extent permitted by law,
       Licensor reserves the right to restrict (remotely or otherwise) usage of the Model
       in violation of this License, update the Model through electronic means, or modify
       the Output of the Model based on updates. You shall undertake reasonable efforts to
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       (such as deliberate and grossly negligent acts) or agreed to in writing, shall any
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       incidental, or consequential damages of any character arising as a result of this
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       Material (including but not limited to damages for loss of goodwill, work stoppage,
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       11. Accepting Warranty or Additional Liability. While redistributing the Model,
       Derivatives of the Model and the Complementary Material thereof, You may choose to
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       liability obligations and/or rights consistent with this License. However, in
       accepting such obligations, You may act only on Your own behalf and on Your sole
       responsibility, not on behalf of any other Contributor, and only if You agree to
       indemnify, defend, and hold each Contributor harmless for any liability incurred
       by, or claims asserted against, such Contributor by reason of your accepting any
       such warranty or additional liability.
       12. If any provision of this License is held to be invalid, illegal or
       unenforceable, the remaining provisions shall be unaffected thereby and remain
       valid as if such provision had not been set forth herein.

        END OF TERMS AND CONDITIONS




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       Attachment A

       Use Restrictions

       You agree not to use the Model or Derivatives of the Model:
       ‐ In any way that violates any applicable national, federal, state, local or
       international law or regulation;
       ‐ For the purpose of exploiting, harming or attempting to exploit or harm minors in
       any way;
       ‐ To generate or disseminate verifiably false information and/or content with the
       purpose of harming others;
       ‐ To generate or disseminate personal identifiable information that can be used to
       harm an individual;
       ‐ To defame, disparage or otherwise harass others;
       ‐ For fully automated decision making that adversely impacts an individual’s legal
       rights or otherwise creates or modifies a binding, enforceable obligation;
       ‐ For any use intended to or which has the effect of discriminating against or
       harming individuals or groups based on online or offline social behavior or known
       or predicted personal or personality characteristics;
       ‐ To exploit any of the vulnerabilities of a specific group of persons based on
       their age, social, physical or mental characteristics, in order to materially
       distort the behavior of a person pertaining to that group in a manner that causes
       or is likely to cause that person or another person physical or psychological harm;
       ‐ For any use intended to or which has the effect of discriminating against
       individuals or groups based on legally protected characteristics or categories;
       ‐ To provide medical advice and medical results interpretation;
       ‐ To generate or disseminate information for the purpose to be used for
       administration of justice, law enforcement, immigration or asylum processes, such
       as predicting an individual will commit fraud/crime commitment (e.g. by text
       profiling, drawing causal relationships between assertions made in documents,
       indiscriminate and arbitrarily‐targeted use).




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                      EXHIBIT G
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                                          Search models, datasets, users...




                              runwayml / stable-diffusion-v1-5                                       like 10.2k

                                  Text-to-Image           Diffusers         Safetensors       StableDiffusionPipeline

                            stable-diffusion      stable-diffusion-diffusers           Inference Endpoints        arxiv:2207.12598

                                arxiv:2112.10752          arxiv:2103.00020            arxiv:2205.11487        arxiv:1910.09700

                                License: creativeml-openrail-m


                                        Deploy             Use in Diffusers


                                 Model card              Files           Community 196




                           Downloads last month
                           3,722,098



                              Inference API
                              Text-to-Image

                             Your sentence here...                                                                           Compute

                           This model can be loaded on the Inference API on-demand.

                              JSON Output                                                                                         Maximize




                              Spaces using runwayml/stable-diffusion-v1-5 2021

                            😻 microsoft/HuggingGPT         📱🔲 huggingface-projects/QR-code-AI-art-generator

                            💃 zcxu-eric/magicanimate        🌖 hysts/ControlNet         📉 hysts/ControlNet-v1-1    + 2016 Spaces




                                 Edit model card


                               Stable Diffusion v1-5 Model Card

                           Stable Diffusion is a latent text-to-image diffusion model capable of generating photo-
                           realistic images given any text input. For more information about how Stable Diffusion
                           functions, please have a look at 🤗's Stable Diffusion blog.

                           The Stable-Diffusion-v1-5 checkpoint was initialized with the weights of the Stable-
                           Diffusion-v1-2 checkpoint and subsequently fine-tuned on 595k steps at resolution
                           512x512 on "laion-aesthetics v2 5+" and 10% dropping of the text-conditioning to
                           improve classifier-free guidance sampling.


https://huggingface.co/runwayml/stable-diffusion-v1-5                                                                                        1/8
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                           You can use this both with the 🧨Diffusers library and the RunwayML GitHub
                           repository.


                               Diffusers


                              from diffusers import StableDiffusionPipeline
                              import torch


                              model_id = "runwayml/stable-diffusion-v1-5"
                              pipe = StableDiffusionPipeline.from_pretrained(model_id, torch_dtype=to
                              pipe = pipe.to("cuda")


                              prompt = "a photo of an astronaut riding a horse on mars"
                              image = pipe(prompt).images[0]


                              image.save("astronaut_rides_horse.png")




                           For more detailed instructions, use-cases and examples in JAX follow the instructions
                           here


                               Original GitHub Repository

                             1. Download the weights

                                      v1-5-pruned-emaonly.ckpt - 4.27GB, ema-only weight. uses less VRAM -
                                      suitable for inference

                                      v1-5-pruned.ckpt - 7.7GB, ema+non-ema weights. uses more VRAM - suitable
                                      for fine-tuning

                             2. Follow instructions here.


                               Model Details

                                  Developed by: Robin Rombach, Patrick Esser

                                  Model type: Diffusion-based text-to-image generation model


                                  Language(s): English

                                  License: The CreativeML OpenRAIL M license is an Open RAIL M license, adapted
                                  from the work that BigScience and the RAIL Initiative are jointly carrying in the
                                  area of responsible AI licensing. See also the article about the BLOOM Open RAIL
                                  license on which our license is based.


https://huggingface.co/runwayml/stable-diffusion-v1-5                                                                 2/8
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                                 Model Description: This is a model that can be used to generate and modify
                                 images based on text prompts. It is a Latent Diffusion Model that uses a fixed,
                                 pretrained text encoder (CLIP ViT-L/14) as suggested in the Imagen paper.

                                 Resources for more information: GitHub Repository, Paper.


                                 Cite as:


                                   @InProceedings{Rombach_2022_CVPR,
                                         author         = {Rombach, Robin and Blattmann, Andreas and Lorenz,
                                         title          = {High-Resolution Image Synthesis With Latent Diffus
                                         booktitle = {Proceedings of the IEEE/CVF Conference on Computer
                                         month          = {June},
                                         year           = {2022},
                                         pages          = {10684-10695}
                                   }




                               Uses

                               Direct Use

                           The model is intended for research purposes only. Possible research areas and tasks
                           include

                                 Safe deployment of models which have the potential to generate harmful content.

                                 Probing and understanding the limitations and biases of generative models.

                                 Generation of artworks and use in design and other artistic processes.

                                 Applications in educational or creative tools.

                                 Research on generative models.


                           Excluded uses are described below.


                               Misuse, Malicious Use, and Out-of-Scope Use

                           Note: This section is taken from the DALLE-MINI model card, but applies in the same way
                           to Stable Diffusion v1.


                           The model should not be used to intentionally create or disseminate images that create
                           hostile or alienating environments for people. This includes generating images that
                           people would foreseeably find disturbing, distressing, or offensive; or content that
                           propagates historical or current stereotypes.


                               Out-of-Scope Use
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                           The model was not trained to be factual or true representations of people or events,
                           and therefore using the model to generate such content is out-of-scope for the abilities
                           of this model.


                               Misuse and Malicious Use

                           Using the model to generate content that is cruel to individuals is a misuse of this
                           model. This includes, but is not limited to:


                                 Generating demeaning, dehumanizing, or otherwise harmful representations of
                                 people or their environments, cultures, religions, etc.

                                 Intentionally promoting or propagating discriminatory content or harmful
                                 stereotypes.

                                 Impersonating individuals without their consent.

                                 Sexual content without consent of the people who might see it.

                                 Mis- and disinformation

                                 Representations of egregious violence and gore

                                 Sharing of copyrighted or licensed material in violation of its terms of use.

                                 Sharing content that is an alteration of copyrighted or licensed material in
                                 violation of its terms of use.


                               Limitations and Bias

                               Limitations

                                 The model does not achieve perfect photorealism

                                 The model cannot render legible text

                                 The model does not perform well on more difficult tasks which involve
                                 compositionality, such as rendering an image corresponding to “A red cube on top
                                 of a blue sphere”

                                 Faces and people in general may not be generated properly.

                                 The model was trained mainly with English captions and will not work as well in
                                 other languages.

                                 The autoencoding part of the model is lossy

                                 The model was trained on a large-scale dataset LAION-5B which contains adult
                                 material and is not fit for product use without additional safety mechanisms and
                                 considerations.

                                 No additional measures were used to deduplicate the dataset. As a result, we
                                 observe some degree of memorization for images that are duplicated in the
https://huggingface.co/runwayml/stable-diffusion-v1-5                                                                 4/8
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                                 training data. The training data can be searched at https://rom1504.github.io/clip-
                                 retrieval/ to possibly assist in the detection of memorized images.


                               Bias

                           While the capabilities of image generation models are impressive, they can also
                           reinforce or exacerbate social biases. Stable Diffusion v1 was trained on subsets of
                           LAION-2B(en), which consists of images that are primarily limited to English
                           descriptions. Texts and images from communities and cultures that use other
                           languages are likely to be insufficiently accounted for. This affects the overall output of
                           the model, as white and western cultures are often set as the default. Further, the
                           ability of the model to generate content with non-English prompts is significantly
                           worse than with English-language prompts.


                               Safety Module

                           The intended use of this model is with the Safety Checker in Diffusers. This checker
                           works by checking model outputs against known hard-coded NSFW concepts. The
                           concepts are intentionally hidden to reduce the likelihood of reverse-engineering this
                           filter. Specifically, the checker compares the class probability of harmful concepts in
                           the embedding space of the CLIPTextModel after generation of the images. The
                           concepts are passed into the model with the generated image and compared to a hand-
                           engineered weight for each NSFW concept.


                               Training

                           Training Data The model developers used the following dataset for training the model:

                                 LAION-2B (en) and subsets thereof (see next section)


                           Training Procedure Stable Diffusion v1-5 is a latent diffusion model which combines an
                           autoencoder with a diffusion model that is trained in the latent space of the
                           autoencoder. During training,


                                 Images are encoded through an encoder, which turns images into latent
                                 representations. The autoencoder uses a relative downsampling factor of 8 and
                                 maps images of shape H x W x 3 to latents of shape H/f x W/f x 4

                                 Text prompts are encoded through a ViT-L/14 text-encoder.

                                 The non-pooled output of the text encoder is fed into the UNet backbone of the
                                 latent diffusion model via cross-attention.

                                 The loss is a reconstruction objective between the noise that was added to the
                                 latent and the prediction made by the UNet.

https://huggingface.co/runwayml/stable-diffusion-v1-5                                                                    5/8
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                           Currently six Stable Diffusion checkpoints are provided, which were trained as follows.

                                 stable-diffusion-v1-1: 237,000 steps at resolution 256x256 on laion2B-en.

                                 194,000 steps at resolution 512x512 on laion-high-resolution (170M examples
                                 from LAION-5B with resolution >= 1024x1024).


                                 stable-diffusion-v1-2: Resumed from stable-diffusion-v1-1. 515,000 steps

                                 at resolution 512x512 on "laion-improved-aesthetics" (a subset of laion2B-en,
                                 filtered to images with an original size >= 512x512, estimated aesthetics score >
                                 5.0, and an estimated watermark probability < 0.5. The watermark estimate is

                                 from the LAION-5B metadata, the aesthetics score is estimated using an improved
                                 aesthetics estimator).

                                 stable-diffusion-v1-3: Resumed from stable-diffusion-v1-2 - 195,000 steps

                                 at resolution 512x512 on "laion-improved-aesthetics" and 10 % dropping of the
                                 text-conditioning to improve classifier-free guidance sampling.

                                 stable-diffusion-v1-4 Resumed from stable-diffusion-v1-2 - 225,000 steps

                                 at resolution 512x512 on "laion-aesthetics v2 5+" and 10 % dropping of the text-
                                 conditioning to improve classifier-free guidance sampling.

                                 stable-diffusion-v1-5 Resumed from stable-diffusion-v1-2 - 595,000 steps

                                 at resolution 512x512 on "laion-aesthetics v2 5+" and 10 % dropping of the text-
                                 conditioning to improve classifier-free guidance sampling.

                                 stable-diffusion-inpainting Resumed from stable-diffusion-v1-5 - then

                                 440,000 steps of inpainting training at resolution 512x512 on “laion-aesthetics v2
                                 5+” and 10% dropping of the text-conditioning. For inpainting, the UNet has 5
                                 additional input channels (4 for the encoded masked-image and 1 for the mask
                                 itself) whose weights were zero-initialized after restoring the non-inpainting
                                 checkpoint. During training, we generate synthetic masks and in 25% mask
                                 everything.

                                 Hardware: 32 x 8 x A100 GPUs


                                 Optimizer: AdamW

                                 Gradient Accumulations: 2

                                 Batch: 32 x 8 x 2 x 4 = 2048


                                 Learning rate: warmup to 0.0001 for 10,000 steps and then kept constant


                               Evaluation Results

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                           Evaluations with different classifier-free guidance scales (1.5, 2.0, 3.0, 4.0, 5.0, 6.0, 7.0,
                           8.0) and 50 PNDM/PLMS sampling steps show the relative improvements of the
                           checkpoints:




                           Evaluated using 50 PLMS steps and 10000 random prompts from the COCO2017
                           validation set, evaluated at 512x512 resolution. Not optimized for FID scores.


                               Environmental Impact

                           Stable Diffusion v1 Estimated Emissions Based on that information, we estimate the
                           following CO2 emissions using the Machine Learning Impact calculator presented in
                           Lacoste et al. (2019). The hardware, runtime, cloud provider, and compute region were
                           utilized to estimate the carbon impact.

                                 Hardware Type: A100 PCIe 40GB

                                 Hours used: 150000

                                 Cloud Provider: AWS

                                 Compute Region: US-east

                                 Carbon Emitted (Power consumption x Time x Carbon produced based on
                                 location of power grid): 11250 kg CO2 eq.


                               Citation




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                                         month          = {June},
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                                         pages          = {10684-10695}
                                     }




                           This model card was written by: Robin Rombach and Patrick Esser and is based on the
                           DALL-E Mini model card.




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